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                                       No. 23 - ____


   United States Court of Appeals for the Third Circuit

               IN RE OFFICIAL COMMITTEE OF TALC CLAIMANTS,

                                                        Petitioner.


         On Petition for Writ of Mandamus to the United States Bankruptcy Court
    for the District of New Jersey, Chapter 11 No. 23-12825, Adv. Pro. No. 23-01092

                PUBLIC PETITION FOR WRIT OF MANDAMUS OF
                 OFFICIAL COMMITTEE OF TALC CLAIMANTS
                AND APPENDIX VOLUME 1 OF 11 (Pages A1 to A66)

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                     CORPORATE DISCLOSURE STATEMENT

          Pursuant to Rules 26.1 of the Federal Rules of Appellate Procedure and 26.1

   of the Third Circuit Local Appellate Rules, counsel for Petitioner hereby state that

   the Official Committee of Talc Claimants is not a corporate entity. The Committee

   consists of ten natural persons and Blue Cross and Blue Shield of Massachusetts

   (“BCBSMA”).        BCBSMA is composed of Blue Cross and Blue Shield of

   Massachusetts, Inc. (“BCBS Inc.”) and Blue Cross and Blue Shield of Massachusetts

   HMO Blue, Inc. (“HMO Inc.”). BCBS Inc. and HMO Inc. are not-for-profit medical

   services corporations organized as charitable organizations. BCBS Inc. is organized

   under M.G.L. cc.176A and 176B, and HMO Inc. is organized under M.G.L. c.180.

   BCBS Inc. is the parent of HMO Inc.

          Counsel for Petitioner further state that Johnson & Johnson is the parent

   company of the Debtor in Chapter 11 Proceeding No. 23-12825 and Adversary

   Proceeding No. 23-01092, LTL Management LLC. Johnson & Johnson is a publicly

   owned corporation with a financial interest in this litigation. Among other things,

   Johnson & Johnson asserts that it has indemnification rights against the Debtor and

   has obligations to the Debtor under a Funding Agreement. This appeal also involves

   an order entered by the bankruptcy court halting talc-related litigation against

   Johnson & Johnson and other entities.

   May 1, 2023                                          /s/ Angelo J. Genova
                                                        Angelo J. Genova
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                                     INTRODUCTION

          On January 30, 2023, this Court directed dismissal of LTL’s bankruptcy

   petition because LTL could not show the “immediate” “financial distress” required

   for a “good-faith” bankruptcy petition. In re LTL Management, LLC, 64 F.4th 84,

   93, 100-11 (3d Cir. 2023) (as amended) (Ambro, Fuentes, and Restrepo, JJ.)

   (“LTL”). The Court “c[ould ]not currently see how [LTL’s] lack of financial distress

   could be overcome.” Id. at 110. Outside bankruptcy, LTL had access to $61.5

   billion under a funding agreement (the “2021 Funding Agreement”) backed by both

   Johnson & Johnson and Johnson & Johnson Consumer, Inc., which then owned

   valuable brands like Tylenol. The funding agreement was a veritable “ATM”

   allowing LTL to “pay liabilities without any . . . threat to its financial viability.” Id.

   at 109. The Court presciently cautioned LTL against just “part[ing] with [that] fund-

   ing backstop to render itself fit for a renewed filing,” as any such effort would be

   subject to challenge as a fraudulent conveyance. Id. at 109 n.18.

          Two hours and 11 minutes after the bankruptcy court executed this Court’s

   mandate and dismissed LTL’s first bankruptcy, LTL filed for bankruptcy again.

   LTL had done exactly what this Court warned against: It gave up its most valuable

   asset, the 2021 Funding Agreement, in a deliberate attempt to manufacture financial

   distress. LTL’s chief legal officer (“CLO”) admitted the transfer was designed so




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    that LTL’s “financial condition” would be “sufficiently distressed” to make it

    eligible for bankruptcy. A652 (Kim).

           Terminating the 2021 Funding Agreement, LTL replaced it with the “2023

    Funding Agreement,” under which Holdco (formerly Johnson & Johnson Consumer,

    Inc.) is the sole obligor, along with a “Support Agreement” from J&J that offers

    funding only inside bankruptcy. A650 (Kim). Gone was J&J’s commitment to

    provide a $61.5 billion fund for talc liabilities outside bankruptcy. Also gone was

    Holdco’s cash-generating consumer-products business, formerly available to pro-

    vide cash to fund LTL. That business was transferred to Holdco’s direct parent

    (Janssen Pharmaceuticals) in early January 2023—while LTL’s first bankruptcy was

    still pending—without notice to the bankruptcy court or U.S. Trustee.

           LTL’s pretext for surrendering the 2021 Funding Agreement is that this

    Court’s LTL decision “changed the law” and rendered the 2021 Funding Agreement

    “void or voidable” by “frustrat[ing its] purpose.” A770 (Kim). But the holding that

    munificently funded entities like LTL cannot proceed in bankruptcy could not

    frustrate the 2021 Funding Agreement’s purpose: As LTL represented to this Court,

    that agreement expressly applied outside bankruptcy, too. 64 F.4th at 96, 106;

    A2301 (CA3 Oral Arg.). LTL’s CLO nonetheless blamed this Court, insisting that

    talc claimants lost access to the $61.5 billion fund “because of the Third Circuit

    decision, not because of what we did.” A130 (Kim).


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           The U.S. Trustee vigorously opposed the new bankruptcy filing, explaining

    that LTL’s reorganization efforts were “[f]utile.” A676, A678. “LTL surrendered

    its most valuable asset” for “apparently no consideration,” “replacing it with an

    instrument far less valuable,” in a transaction that could be “ ‘the largest fraudulent

    conveyance in the history of the United States’ ”—all “to circumvent the Third

    Circuit’s ruling” in LTL. A676-677. The U.S. Trustee excoriated LTL’s embrace

    of the dubious “void or voidable” theory as “wholly adverse to LTL’s own interests.”

    A677 (n.4). Filing this new case and subjecting talc victims to further “delay,” the

    U.S. Trustee stated, was “unconscionable.” A670.

           At the first-day hearing on April 11, talc claimants orally moved to dismiss

    LTL’s end-run around this Court’s decision. The newly constituted Official Com-

    mittee of Talc Claimants (“TCC”) joined those motions on April 18.1 The bank-

    ruptcy court recognized its authority to dismiss, even sua sponte. A20. But it

    refused. A20. Instead, it granted LTL a preliminary injunction that bars talc

    claimants from conducting trials on talc claims against non-debtors, including J&J

    and 100 other entities, through at least June 15.

           Far from finding a reasonable likelihood LTL would succeed in reorganizing,

    the bankruptcy court acknowledged the opposite. The court was “skeptical” LTL



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     The TCC filed a written motion to dismiss on April 24. Bankr. D.N.J. Case No.
    23-12825, Doc. 286.

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    could succeed. A23. LTL “[u]ndoubtedly” faced an “uphill battle” to show a good-

    faith basis for proceeding in bankruptcy. A23. LTL’s abandonment of the 2021

    Funding Agreement was “the potentially ‘largest intentional fraudulent transfer in

    United States history.’ ” A23. It “certainly appear[ed] to be manufactured” to create

    financial distress “in direct response to the Third Circuit’s ruling.” A18. Even if

    that transfer could stand, the court could not say whether “this reduction in funding”

    or any of LTL’s other maneuvers “adds to—or creates—[the] financial distress”

    necessary to survive dismissal. A18. The court nonetheless granted LTL injunctive

    relief in favor of non-debtors, because it could not conclude “there is no possibility

    of a successful reorganization.” A23 (emphasis added).

           Those rulings cannot be reconciled with this Court’s LTL decision or basic

    legal principles. A party seeking preliminary injunctive relief must make a clear

    showing of a reasonable probability of success. On that point, LTL’s showing was

    non-existent. The bankruptcy court granted an injunction only by disregarding that

    standard, holding that an injunction should issue unless the bankruptcy court

    “agree[s]” there is “no possibility” of success. A23 (emphasis added). In LTL,

    moreover, this Court held that LTL cannot proceed in bankruptcy unless it

    establishes “good faith.” 64 F.4th at 100. It is incompatible with good faith for a

    debtor to deliberately give up its most valuable asset to manufacture financial

    distress. That is doubly true when the debtor undertakes such machinations to


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    circumvent a judicial decision finding it too “financially healthy” to “need to reor-

    ganize” in bankruptcy. Id. at 101. LTL’s purported justification—that this Court’s

    LTL decision “changed the law,” rendering the 2021 Funding Agreement “void or

    voidable”—is pretextual. Indeed, bad faith is so clear on the undisputed record that

    this Court can—and should—direct dismissal now.

           The TCC has taken the (concededly extraordinary) step of seeking mandamus

    to vindicate this Court’s prior decision and because the circumstances are urgent.

    LTL has filed a scheduling motion revealing that it seeks to short-circuit the

    appellate process by filing a reorganization plan by May 14, A683-684—before

    resolution of motions to dismiss, which LTL has indicated it will seek to delay until

    late June or beyond. After rushing its plan, LTL also apparently seeks to stuff the

    ballot box by opening voting to individuals who do not have cancers linked to J&J

    products. A683-684. The risk of evasion of appellate review is tremendous. And

    LTL’s filing again forecloses sick and dying claimants from getting their day in

    court, just hours after this Court’s mandate reopened the courthouse doors for them.

    Swift action is needed to halt this unconscionable abuse of the bankruptcy system

    and disregard for this Court’s mandate.




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                                    ISSUES PRESENTED

           1.      Whether LTL’s second bankruptcy petition impermissibly attempts to

    circumvent the good-faith and financial-distress requirements this Court found

    unsatisfied in LTL’s first bankruptcy, where LTL:

                 Attempted to manufacture financial distress by surrendering a
                  $61.5 billion payment right against J&J that had allowed LTL to
                  pay all talc claimants in full outside of bankruptcy, despite this
                  Court’s warning that such a surrender would be subject to chal-
                  lenge as a fraudulent conveyance.

                 Justified surrender of its payment right on the ground that this
                  Court’s decision purportedly “changed the law,” even though
                  that decision was based on longstanding precedent and LTL’s
                  own admissions, and purportedly “frustrated the purpose” of the
                  2021 Funding Agreement, even though the agreement expressly
                  applied outside bankruptcy.

                 Has failed to comply with the standards established by this Court
                  for showing immediate financial distress.

           2.      Whether the bankruptcy court failed to apply the proper legal

    requirements for injunctive relief, by restraining litigation against non-debtors based

    on a mere “possibility” that LTL could successfully reorganize in bankruptcy.

                                        STATEMENT

    I.     LTL’S FIRST BANKRUPTCY

           A.      Talc Suits Against J&J and LTL’s Creation

           Johnson & Johnson (“J&J”) and its subsidiary Johnson & Johnson Consumer

    Inc. (“Old JJCI” or “Old Consumer”) sold talc-based baby powder for over a century.

    In re LTL Management, LLC, 64 F.4th 84, 93 (3d Cir. 2023). For decades, J&J

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    concealed that it had detected asbestos in its talc products, and continued selling

    them despite mounting evidence they cause epithelial ovarian cancer and mesotheli-

    oma. After juries and regulators linked J&J’s baby powder to those diseases, J&J

    and Old Consumer found themselves facing thousands of lawsuits. Id. at 94.

           J&J and Old Consumer nevertheless remained extraordinarily valuable.

    64 F.4th at 106. Much of J&J’s talc-related costs were attributable to a single

    verdict, Ingham, which J&J described in SEC filings as “unique” and “not represen-

    tative.” Id. at 95. J&J paid its talc-related costs in the ordinary course, and insisted

    in financial disclosures and court filings that those costs were manageable. Id.

           Nonetheless, J&J sought to resolve its talc liabilities outside the tort system.

    Employing a divisional merger under Texas law—the so-called “Texas Two-

    Step”—J&J split Old Consumer into two new entities, LTL and New JJCI (or “New

    Consumer”). 64 F.4th at 95-96 & n.3. New Consumer received all the “productive

    business assets” and “valuable consumer products,” including famous brands like

    Neutrogena and Tylenol. Id. at 97. LTL was “allocated” all talc-related “liabilities.”

    Id. at 96. LTL also agreed to indemnify J&J, New Consumer, and hundreds of third

    parties for their talc-related costs. Id. & n.6.

           LTL’s most significant asset was a funding agreement with J&J and New

    Consumer (the “2021 Funding Agreement”). 64 F.4th at 96. It “gave LTL, outside

    of bankruptcy, the ability to cause New Consumer and J&J, jointly and severally,


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    to pay it cash up to the value of New Consumer”—more than $61.5 billion—“for

    purposes of satisfying any talc-related costs.” Id. (emphasis added).

            B.    This Court Orders Dismissal of LTL’s First Bankruptcy

            Two days after LTL was formed, it filed for Chapter 11 bankruptcy. 64 F.4th

    at 97. The bankruptcy court denied motions to dismiss and issued a preliminary

    injunction extending the bankruptcy stay to hundreds of non-debtor third parties. Id.

    at 97-98.

            This Court reversed and ordered dismissal of LTL’s bankruptcy. 64 F.4th at

    100-11. It reaffirmed the longstanding rule—articulated in precedents of this Court

    and eight other circuits—that debtors “who do[ ] not suffer from financial distress

    cannot demonstrate” a “good faith” basis for filing for bankruptcy. Id. at 101-04 &

    n.14.

            The record showed that LTL could “meet comfortably its liabilities as they

    became due for the foreseeable future.” 64 F.4th at 108. The Court could not credit

    LTL’s and the bankruptcy court’s inflated “back-of-the-envelope forecasts” of

    LTL’s “future liability.” Id. at 107-08. And the 2021 Funding Agreement provided

    LTL a $61.5 billion “ATM” to fund talc liabilities, backed by “direct access to J&J’s

    exceptionally strong balance sheet” and revenues from New Consumer’s “cash-

    flowing brands.” Id. at 95, 106, 109. This Court preemptively addressed any effort

    by LTL to “part with its funding backstop to render itself fit for a renewed filing,”


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    warning that such a gambit would be subject to challenge under “11 U.S.C.

    § 548(a),” the fraudulent-transfer statute. Id. at 109 n.18. The Court remanded to

    the bankruptcy court with instructions to dismiss LTL’s petition. Id. at 111.

           This Court denied LTL’s petition for rehearing, which argued that the panel

    “[b]roke [f]rom [this Court’s] [p]recedent.” A2340-2341; A2348. No judge voted

    for rehearing.     A2414-2415. LTL sought a stay of the mandate pending its

    submission of a certiorari petition. A2428; A2279. It urged that, if the bankruptcy

    case were dismissed, “[e]ach of [the talc] cases would suddenly spring back into

    activity and proceed towards trial.” A2440. On March 31, 2023, this Court denied

    the stay and immediately issued the mandate. A2447; A2824. LTL never filed a

    certiorari petition. Nor, it turns out, did LTL have any intention of allowing talc

    cases to proceed to trial.

    II.    LTL’S SECOND BANKRUPTCY

           As LTL’s rehearing and stay petitions stalled issuance of this Court’s

    mandate, LTL secretly prepared a second bankruptcy petition. On April 4, 2023—

    just 2 hours and 11 minutes after the bankruptcy court executed this Court’s mandate

    and dismissed LTL’s first petition—LTL filed that second petition. A2764.

           A.    LTL’s Surrender of the 2021 Funding Agreement

           In January 2023, while the prior appeal was pending, Holdco (formerly New

    Consumer) transferred its valuable consumer-health business to its parent; it did not


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    notify the TCC, bankruptcy court, or U.S. Trustee. A631 (Kim). As a result, LTL

    lost the benefit of “cash-flowing brands” whose revenues formerly backstopped New

    Consumer’s (now Holdco’s) payment obligations under the 2021 Funding Agree-

    ment. 64 F.4th at 106.

           Once this Court announced its decision ordering dismissal of LTL’s first

    petition, LTL and J&J worked together to set aside the 2021 Funding Agreement

    that rendered LTL too wealthy for bankruptcy. LTL CLO John Kim testified that,

    the day of this Court’s decision, he conceived the idea that it might render the 2021

    Funding Agreement “void or voidable.” A766-767 (74:23-75:10); A768 (3-13);

    A769 (2-18); A774 (11-23); A128 (12); see A649 (¶ 78).          Despite this Court’s

    application of longstanding precedent, Kim claimed “no one” “could have

    anticipated” the LTL decision, which he asserted “changed the law” and “frustrated

    the purposes of the funding agreement.” A770 (5-18).

                                                    —all paid by J&J—to void the 2021

    Funding Agreement. A881-883.

           Kim could not explain why he, as LTL’s CLO, was thinking of ways to void

    LTL’s most valuable asset. No businessperson at J&J claimed the 2021 Funding

    Agreement was unenforceable or that J&J would refuse to honor it.               A901-

    902 (209:9-210:18); A141; see A1818-1819 (Dickinson). J&J never refused to pay

    under the agreement. A899 (7-14). J&J’s head of litigation did


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                                                                     A1108 (22-24). LTL

    never raised the issue with the TCC, U.S. Trustee, or bankruptcy court. On March

    21, 2023, LTL filed a monthly operating report, signed by LTL’s CFO and its

    counsel, indicating the 2021 Funding Agreement remained in place. A2197.

           LTL, J&J, and Holdco nonetheless agreed to terminate the 2021 Funding

    Agreement and replace it with two new agreements:

                 A 2023 Funding Agreement, under which Holdco—but not
                  J&J—must pay for LTL’s talc-related liabilities, inside and
                  outside bankruptcy.

                 A J&J Support Agreement, under which J&J agrees to backstop
                  Holdco’s obligations under the 2023 Funding Agreement, but
                  only in bankruptcy and only pursuant to court order.

    A650-651 (¶¶ 79-81).

           Whereas the 2021 Funding Agreement provided funding to LTL valued at

    $61.5 billion, backed by brands like Tylenol, its 2023 replacement offers funding

    only up to the value of Holdco’s now-more-limited assets, which LTL values at

    approximately $30 billion. A760 (Kim). Holdco also has access to about $400

    million cash. A632 (¶ 28). LTL has $15.78 million cash and rights to royalty streams

    it values at approximately $402 million. A2199, A2205 (LTL March Report).

           B.     LTL’s Second Bankruptcy Petition

           Filed hours after dismissal of its first bankruptcy, LTL’s second petition raised

    grave concerns. It was not just that LTL sought to circumvent this Court’s ruling


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    and surrendered its most valuable asset just before the new bankruptcy. LTL now

    asserted that its new petition had the “support[ ]” of “over 60,000 claimants who

    have signed and delivered plan support agreements.”           A435 (9-10) (emphasis

    added). LTL seeks to create an asbestos-claim trust under 11 U.S.C. § 524(g), which

    would require support from “at least 75 percent” of voting affected claimants.

    § 524(g)(2)(B)(ii)(IV)(bb). But most of the supposed new claimants have not even

    filed suits yet. And LTL had no commitments from claimants, only “commitments

    from attorneys representing those clients” to “recommend that their clients support”

    a proposed agreement. A1221 (17-22) (emphasis added); A637-648 (Kim).

           The U.S. Trustee found “how the math works” impenetrable: “Where are

    these claimants coming from and who are these claimants? Because we just can’t

    reconcile them with the numbers . . . that were in front of us in the first case.”

    A511 (5-22). In the Imerys case (involving a J&J talc supplier), “thousands if not

    tens of thousands” of votes were ultimately excluded because of double-counting or

    other issues. A103-104. Yet LTL made no effort to verify the newly recruited

    claims or eliminate double-counting. A739-A740; A745. As one plaintiff attorney

    told J&J, “[a]s we add law firms, we just get them to sign . . . with the number of

    claimants they profess to represent.” A1298 (Watts Email).

           Critically, LTL seeks to broaden the claimant pool—inflating the voting

    rolls—by including unfiled, unsubstantiated claims that would ultimately recover no


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    (or only nominal) compensation. The MDL court had limited the scientifically

    supported claims associated with talc exposure to “epithelial ovarian cancer” cases,

    rather than “gynecological cancers” or even ovarian cancer generally. In re Johnson

    & Johnson Talcum Powder Prods. Mktg., Sales Practices and Prods. Litig., 509 F.

    Supp. 3d 116, 181 (D.N.J. 2020). LTL would expand the definition of

                                                                  A1326; A1385 (14-18)

    (emphasis added).

           C.    The Bankruptcy Court Issues a Sweeping Non-Debtor Injunction

           In an April 20, 2023 bench decision, the court issued a preliminary injunction

    barring claimants from commencing or conducting trials on talc claims against J&J

    and more than 100 protected non-debtor parties through at least June 15. A48. The

    bankruptcy court also denied multiple motions to dismiss LTL’s second filing for

    lack of good faith. A21-22 & n.11.

           The bankruptcy court recited a litany of its concerns about LTL’s petition.

    Even after a full-day evidentiary hearing, the court had “more questions than

    answers.” A44 (5-6). It doubted whether LTL really faced more claims compared

    to its first bankruptcy—“Maybe. Maybe not.” A45 (7). It described the “voidability

    of the 2021 funding agreement” as an “unresolved issue[].” A47 (11). It agreed the

    2021 Funding Agreement’s abrogation “certainly appears manufactured,” A45 (18-

    19), and was “potentially [the] largest fraudulent transfer undertaken in history,”


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    A47 (11-13). LTL faced an “uphill battle” to show good faith. A47 (10). And the

    court was “skeptical” of LTL’s ability to reorganize. A47 (22). The bankruptcy

    court, however, treated those doubts as reason to grant the extraordinary relief of an

    injunction—to preclude sick-and-dying claimants from getting trials—because

    objectors had not shown there was “no possibility of a successful reorganization.”

    A47 (16) (emphasis added).

           “[R]ead[ing its] ruling into the record,” the bankruptcy court indicated that its

    April 20 bench opinion constituted its decision on the preliminary injunction,

    “subject to the terms of a more formal order.” A64 (25:25-26:6); A43. The court

    entered that order on April 25. A32.

           On April 21, the TCC filed a notice of appeal and moved the bankruptcy court

    to certify a direct appeal to this Court under 28 U.S.C. § 158(d)(2)(B). A2733. The

    TCC stated that, absent certification by April 27, it would seek relief from this Court.

    A2745. The bankruptcy court did not rule on the certification motion by that date.

    See A2761(setting May 9 hearing). Instead, on April 27, the bankruptcy court issued

    a written opinion “to clarify and supplement [its] oral opinion.” A8.

           The written opinion restated much of the bench ruling’s analysis. A16-28. It

    purported to clarify that LTL bears the burden of proof. A16 (n.9). But it declared

    that LTL “need only show the possibility that it will succeed” in reorganizing. A16

    (emphasis added). Like the oral opinion, the written order concluded an injunction


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    was appropriate because, “with so many unanswered questions,” the “Court cannot

    agree with the Objecting Parties that there is no possibility of a successful

    reorganization.” A23 (emphasis added).

                        REASONS THE WRIT SHOULD ISSUE

           LTL’s new bankruptcy petition seeks to circumvent this Court’s decision in

    In re LTL Management, LLC, 64 F.4th 84 (3d Cir. 2023), and eviscerate Chapter

    11’s good-faith requirement. This Court ordered dismissal of LTL’s prior bank-

    ruptcy petition because LTL could not show the imminent financial distress needed

    for a good-faith bankruptcy filing. Id. at 110. The then-existing 2021 Funding

    Agreement with J&J and New Consumer gave LTL at least $61.5 billion to resolve

    talc liabilities—funds available inside and “outside of bankruptcy.” Id. at 96-97,

    106, 109. And while LTL posited over $190 billion in liability and litigation costs,

    this Court found that “back-of-the-envelope” figure speculative and clearly

    erroneous. Id. at 107-08. Nor could this Court “see how [LTL’s] lack of financial

    distress could be overcome”: The 2021 Funding Agreement made LTL “highly

    solvent,” and any surrender of that asset would be subject to challenge as a fraudulent

    conveyance. Id. at 108, 110 & n.18.

           Despite those warnings, LTL walked away from that Funding Agreement—

    its most valuable asset—in an effort to “manufacture[ ]” financial distress. A18. For

    that massive giveaway, LTL blames this Court. The 2021 Funding Agreement’s


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    “purpose,” it says, was supposedly “frustrated”—rendering the agreement “void or

    voidable”—because this Court’s decision purportedly “changed the law” and

    prevented LTL from proceeding in bankruptcy. A770 (9-18). But this Court did not

    change the law; it relied on longstanding precedent requiring financial distress. And

    LTL’s ineligibility for bankruptcy could not possibly defeat the 2021 Funding

    Agreement’s purpose, because the agreement expressly provided that the $61.5

    billion in funding was available “outside of bankruptcy,” 64 F.4th at 106 (emphasis

    added)—as LTL explicitly represented to this Court, A2289 (21-25).

           LTL’s new petition is a transparent, bad-faith attempt to circumvent this

    Court’s decision. Yet the bankruptcy court did not merely refuse to dismiss the

    petition. It exacerbated the harm by enjoining talc victims—who are dying every

    day—from trying cases against non-debtor third parties. Its rationale: It was not

    convinced “there is no possibility of a successful reorganization.” A23 (emphasis

    added). But it was LTL’s burden, as debtor, to show good faith and to clearly

    establish the likelihood of success that is a prerequisite to injunctive relief. A

    reasonable likelihood of success requires more than mere “possibility” of success,

    A16, as this Court and the Supreme Court have repeatedly made clear. Mere

    possibility cannot justify barring sick and dying talc victims from trying their cases

    against non-debtors. Neither LTL’s bankruptcy case nor the injunction can be

    sustained.


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           Mandamus is for “extraordinary” cases, but this case is extraordinary. Citi-

    bank, N.A. v. Fullam, 580 F.2d 82, 86 (3d Cir. 1978) (mandamus to district court

    sitting in bankruptcy); see In re FCC, 217 F.3d 125, 137 (2d Cir. 2000) (mandamus

    to bankruptcy court to enforce prior decision). Mandamus is proper to enforce the

    bankruptcy court’s and LTL’s “clear duty to comply with [this Court’s] order,”

    Citibank, 580 F.2d at 87, “both [in] letter and spirit,” EEOC v. Kronos Inc., 694 F.3d

    351, 361 (3d Cir. 2012). Mandamus is also appropriate to “confin[e] the inferior

    court to a lawful exercise of its prescribed jurisdiction.” Ex parte Republic of Peru,

    318 U.S. 578, 583 (1943). The maintenance of this case and grant of injunctive

    relief—despite LTL’s failure to make any showing on bankruptcy’s “gateway”

    good-faith requirement, 64 F.4th at 102—necessitate immediate correction.

           Mandamus would be warranted even if the bankruptcy court’s actions could

    be reviewed on appeal later. Citibank, 580 F.2d at 89-90. Here, LTL seeks to short-

    circuit future appellate review. LTL has announced it will propose a plan by May

    14, 2023 and rush confirmation proceedings, stuffing the ballot box with newly

    recruited claimants without cancers linked to J&J products. A264. At the same

    time, LTL has told the TCC it will seek to delay a hearing on motions to dismiss past

    the 30-day statutory deadline, see 11 U.S.C. § 1112(b)(3), into late June or beyond.

    Time is of the essence. The Court should put an end to LTL’s abuse of the bankrupt-

    cy system.


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    I.     LTL DID NOT AND CANNOT SHOW GOOD FAITH—OR THE PROBABILITY
           OF SUCCESS REQUIRED FOR INJUNCTIVE RELIEF—IN LIGHT OF THIS
           COURT’S PRIOR DECISION

           LTL’s inability to meet bankruptcy’s good-faith requirement does not merely

    preclude injunctive relief in favor of non-debtors. It compels dismissal. Under

    Chapter 11, “the debtor” has the “burden” of proving the “bankruptcy petition is

    filed in good faith.” 64 F.4th at 100. The “good-faith gateway” requires (inter alia)

    “financial distress” “immediate enough to justify a filing”; absent such distress, the

    debtor “cannot demonstrate its Chapter 11 petition serves a valid bankruptcy purpose

    supporting good faith.” Id. at 101-02. LTL did not—and cannot—show good faith.

    It attempted to manufacture financial distress by surrendering the $61.5 billion 2021

    Funding Agreement on the flimsiest of pretenses.

           A.    LTL’s Surrender of Its $61.5 Billion Payment Right from J&J
                 Cannot Establish Good-Faith Financial Distress

           In LTL, this Court held that LTL’s $61.5 billion payment right under the 2021

    Funding Agreement—which “gave LTL direct access to J&J’s exceptionally strong

    balance sheet” and “$31 billion just in cash and marketable securities”—foreclosed

    any showing of immediate financial distress or good faith. 64 F.4th at 106. That

    agreement made LTL “highly solvent with access to cash to meet comfortably its

    liabilities as they came due for the foreseeable future.” Id. at 108. And the Court

    “c[ould ]not currently see how [LTL’s] lack of financial distress could be

    overcome.” Id. at 110.

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           To evade that ruling, LTL tried to “manufacture[ ]” financial distress, A18 , by

    surrendering its rights under the 2021 Funding Agreement, forfeiting any payment

    rights against J&J outside bankruptcy. As LTL’s chief legal officer admitted, LTL

    parted with those rights so “its pre-filing financial condition” would be “sufficiently

    distressed” to resort to bankruptcy. A652 (¶ 83). But bankruptcy requires “good

    faith.” 64 F.4th at 100-01 (emphasis added). Surrendering a $61.5 billion asset to

    supposedly render a highly solvent debtor “distressed” is bad faith. This Court held

    that LTL had a “duty” “to access its payment assets.” Id. at 107. But LTL now

    seeks to surrender those assets and preclude itself from meeting that duty. This Court

    warned LTL against “part[ing] with its funding backstop to render itself ”

    underfunded and thus putatively “fit for a renewed filing.” Id. at 109 n.18; see pp.

    23-26, infra. But LTL did just that.

           LTL’s actions make clear it does not “face[ ] the kinds of problems that justify

    Chapter 11 relief,” but instead seeks “ ‘to step outside [Chapter 11’s] “equitable

    limitations.” ’ ” 64 F.4th at 100, 102. Any “problems” were self-inflicted to obtain

    bankruptcy protection for an entity this Court already held does not qualify for bank-

    ruptcy. Debtors cannot manufacture financial distress—and with it, bankruptcy-

    court jurisdiction—in this manner. See Carolin Corp. v. Miller, 886 F.2d 693, 696

    (4th Cir. 1989); In re Little Creek Dev. Co., 779 F.2d 1068, 1073 (5th Cir. 1986); In




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    re Combustion Eng’g, Inc., 391 F.3d 190, 228 (3d Cir. 2004) (debtor may not

    “create” bankruptcy jurisdiction).

           B.    LTL’s Attempt To Blame This Court Is Baseless

           Recognizing that voluntary surrender of its most valuable asset is antithetical

    to good faith, LTL shifts blame to this Court. The day this Court issued its prior

    decision—while LTL still had a fiduciary duty to creditors—LTL’s chief legal

    officer conceived a rationalization for impoverishing his own company. To justify

    relinquishing the $61.5 billion Funding Agreement, LTL declared that this Court’s

    decision was “in error and changed the law” to produce a result “no one” “could

    have anticipated.” A770. That decision, LTL says, “frustrated the purposes of the

    funding agreement and rendered it void or voidable.” Id.

           The theory is frivolous. This Court was not “in error” and did not “change

    the law.” As the Court explained, the requirement of “immediate” “financial

    distress” comes from foundational precedents, In re SGL Carbon Corp., 200 F.3d

    154, 159, 163 (3d Cir. 1999), and In re Integrated Telecom Express, Inc., 384 F.3d

    108, 120-124 (3d Cir. 2004). 64 F.4th at 101-03. That conclusion was “reinforced”

    by decisions from eight other circuits. Id. at 103-04 & n.14. In finding financial

    distress absent, the Court took “LTL at [its] word” that it had ample resources to

    “pay current and future talc claimants in full.” Id. at 109. The notion that LTL could




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    not have anticipated the Court’s decision is baseless. LTL admitted below that the

    decision was “reasonably foreseeable.” A275-276 (209:14-210:5).

           Regardless, the Court’s dismissal of LTL’s bankruptcy could not have

    frustrated the 2021 Funding Agreement’s purpose, because that agreement expressly

    provided for funding outside of bankruptcy. See A2178 (2021 Funding Agreement,

    § 1 Definition of “JJCI Value”). As this Court explained, the agreement gave LTL

    “the right, outside of bankruptcy, to cause J&J and New Consumer, jointly and

    severally, to pay it cash up to the value of New Consumer as of the petition date

    (estimated at $61.5 billion) to satisfy any talc-related costs and normal course

    expenses.” 64 F.4th at 106 (emphasis added). LTL’s counsel represented to this

    Court that the “funding agreement does have provisions for funding outside of

    bankruptcy.”    A2301 (21-25) (emphasis added).        LTL represented that to the

    bankruptcy court, too. A2225 (5-20)(LTL’s counsel); A2130 (¶ 27)(LTL’s CLO);

    A127 (7-14), A754 (15-21), A874 (10-17)(same).

           “Frustration of purpose” can justify rescission or non-performance only where

    “ ‘a fortuitous event supervenes to cause a failure of consideration or a practically

    total destruction of the expected value of the performance.’ ” Brenner v. Little Red

    Sch. House, Ltd., 274 S.E.2d 206, 211 (N.C. 1981) (emphasis added). “Essentially,

    there must be an implied condition to the contract that a changed condition would

    excuse performance; this changed condition causes a failure of consideration or the


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    expected value of performance; and that the changed condition was not reasonably

    foreseeable.” Faulconer v. Wysong and Miles Co., 574 S.E.2d 688, 691 (N.C. Ct.

    App. 2002) (emphasis added); see Restatement (Second) of Contracts § 265 (1981).

           Here, there was no “changed condition.” This Court did not change the law.

    There was also no “implied condition” of the 2021 Funding Agreement that

    dismissal of LTL’s bankruptcy would excuse J&J’s performance: The agreement’s

    express terms required J&J to pay outside bankruptcy. “[I]f the parties have

    contracted in reference to the allocation of the risk involved in the frustrating event,

    they may not invoke the doctrine of frustration to escape their obligations.” Brenner,

    274 S.E.2d at 211. LTL has conceded dismissal was “reasonably foreseeable.”

    A275-276 (209:14-210:5). And there was no “total failure” of consideration or “total

    destruction of the expected value.” LTL was allocated talc liabilities; in exchange,

    J&J and New Consumer had agreed to fund them.

           LTL and J&J could have provided in the 2021 Funding Agreement that J&J’s

    obligations were “void or voidable” if LTL’s bankruptcy were dismissed. Instead,

    they agreed J&J’s obligations would apply “outside of bankruptcy.” 64 F.4th at 106.

    The notion that an agreement expressly applying outside bankruptcy has been

    frustrated, simply because a party finds itself outside bankruptcy, is specious.




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    LTL’s embrace of that frivolous argument—“wholly adverse to LTL’s own

    interests,” A677 (U.S. Trustee)—reeks of bad faith.2

           C.    LTL’s Surrender of Its $61.5 Billion Payment Right Belies Good
                 Faith

           LTL’s surrender of the 2021 Funding Agreement confirms its bad faith and

    evasion of this Court’s decision. Anticipating that LTL might try to engineer

    financial distress by surrendering that agreement, the Court warned LTL against

    “part[ing] with its funding backstop to render itself fit for a renewed filing.” 64 F.4th

    at 109 n.18. Such a move would be subject to challenge (and avoided) as a

    fraudulent conveyance under 11 U.S.C. § 548(a). Id. That warning was prescient.

           1.    LTL’s maneuver is an actual fraudulent conveyance because it was

    undertaken “to hinder, delay, or defraud” creditors. 11 U.S.C. § 548(a)(1)(A).

    LTL’s CLO conceded its intent was to deny creditors access to the $61.5 billion J&J

    promised under the 2021 Funding Agreement, and cashflow from the consumer

    business previously owned by Holdco, so that LTL’s “financial condition” would be

    “sufficiently distressed” to invoke bankruptcy. A652 (Kim.Decl. ¶ 83). “[C]ourts


    2
      If the 2021 Funding Agreement were voidable, that would also void the divisional
    merger that created LTL and assigned it talc liabilities. There is no basis for
    selectively unwinding only half of what LTL insists was a “ ‘single integrated
    transaction.’ ” Id. at 99, 105; see Moss v. First Premier Bank, No. 2:13-cv-05438,
    2020 WL 5231320, at *5 (E.D.N.Y. Sept. 2, 2020); Hackel v. FDIC, 858 F. Supp.
    289, 292-93 (D. Mass. 1994). LTL admitted the $61.5 billion Funding Agreement
    was provided to avoid the concern that saddling LTL with massive potential liability
    could be “consider[ed] a fraudulent conveyance.” A1925.

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    applying Bankruptcy Code § 548(a)(1) frequently infer fraudulent intent from the

    circumstances surrounding the transfer, taking particular note of certain recognized

    indicia or badges of fraud.” Max Sugarman Funeral Home, Inc. v. A.D.B. Investors,

    926 F.2d 1248, 1254 (1st Cir. 1991) (citation omitted). Here, no inference is

    needed—it is admitted.

           LTL’s actions exhibit unmistakable “badges of fraud.” See In re Trib. Co.

    Fraudulent Conv. Litig., 10 F.4th 147, 160 (2d Cir. 2021); HBE Leasing Corp. v.

    Frank, 48 F.3d 623, 639 (2d Cir. 1995); In re Enron Corp., 328 B.R. 58, 73 (Bankr.

    S.D.N.Y. 2005). The transaction involved LTL’s most significant asset, took place

    outside the usual course of business, and was not disclosed in advance despite LTL’s

    fiduciary duties. Indeed, even as LTL was arranging to surrender the 2021 Funding

    Agreement, it told the bankruptcy court the agreement remained intact. A2197.

           LTL’s “void or voidable” justification for surrendering the 2021 Funding

    Agreement, see pp. 20-22, supra, is an obvious fig leaf. In reality, LTL surrendered

    that asset to deplete resources available for paying creditors, in an attempt to render

    itself fit for a renewed bankruptcy filing. No further factfinding is needed to show

    intent to “hinder, delay, or defraud,” § 548(a)(1)(A)—the whole point was to hinder

    efforts to recover from a highly solvent entity unfit for bankruptcy.3


    3
     The suggestion that determining LTL’s “subjective intent” is “impossible” on the
    current record, A19-20, is unsustainable. LTL admitted its intent to manufacture

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           2.    With respect to constructive fraudulent conveyance, see § 548(a)(1)(B),

    J&J’s and LTL’s entire aim was to provide LTL with less than “reasonably equiva-

    lent value” for surrendering the 2021 Funding Agreement, and thereby manufacture

    financial distress that did not previously exist. In lieu of a $61.5 billion payment

    guarantee enforceable jointly and severally against J&J and New Consumer—

    backed by “J&J’s exceptionally strong balance sheet,” 64 F.4th at 106—LTL

    received a commitment limited to Holdco’s $30 billion in assets and enforceable

    outside bankruptcy only against Holdco. Holdco, moreover, lacks New Consumer’s

    “cash-flowing brands,” id., which were transferred to a different entity. LTL thus

    exchanged a “reliable” $61.5 billion right enforceable against two “highly credit-

    worthy counterparties” awash with cash, id., for a $30 billion right against a single

    counterparty that had just shed its lucrative business. Trading a cow for magic beans

    would have been a more balanced exchange.

           LTL insists the transfer did not render it “insolvent.” See § 548(a)(1)(B). LTL

    insists it is not currently insolvent, is unlikely to become insolvent in the future, and

    can “pay off its debts currently as they come due.” A809 (14-15); see A246 (20-25);

    A272-273 (206:25-208:15). But those representations also undermine LTL’s claim

    that it suffers the immediate financial distress needed to justify bankruptcy. See pp.


    financial distress and hinder creditors. Nor does actual fraudulent conveyance turn
    on whether a debtor’s “remaining assets are sufficient to cover [its] liabilities.” A20;
    see 5 Collier on Bankruptcy ¶ 548.04[1][b][iii].

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    26-28, infra. And the fact remains that a transaction undertaken for the purpose of

    driving a “highly solvent” entity like LTL into bankruptcy reflects a “lack of good

    faith” and absence of “a valid bankruptcy purpose.” 64 F.4th at 100, 101, 108. That

    alone is fatal to LTL’s petition. Where the bankruptcy petition is so clearly in bad

    faith, the bankruptcy court had no authority to entertain it—much less exacerbate

    the injury to dying claimants by enjoining trials against scores of non-debtors.

           D.    LTL Cannot Evade This Court’s Requirement of Immediate
                 Financial Distress

           In ordering dismissal of the first bankruptcy, this Court held LTL could not

    show “immediate” financial difficulty sufficient to justify bankruptcy relief. 64

    F.4th at 102. It found LTL’s lawyer-driven estimates of talc exposure “clearly

    erroneous,” and the “ ‘attenuated possibility’ that talc litigation may require LTL to

    file for bankruptcy in the future” insufficient. Id. at 108-09. This Court contrasted

    mass-tort cases where debtors faced true financial distress, including “ ‘forced

    liquidation of key business segments.’ ” Id. at 104. And “a lack of meaningful

    operations show[ed] that LTL did not suffer from sufficient kinds of financial

    distress.” Id. at 109 n.17.

           Nothing has changed. LTL’s second filing relies on the same speculative

    “forecasts” of liability that this Court rejected. 64 F.4th at 108. LTL conceded as

    much: Its CLO testified that LTL is asserting the “same basis” for financial distress



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    as in the first bankruptcy, stating “I would rely on the testimony from the last pro-

    ceeding.” A897-898 (205:23-206:5). And LTL’s counsel trumpeted the same “$190

    billion” figure for trial costs, A320 (5), that this Court decisively rejected, 64 F.4th

    at 107.

           This Court had faulted LTL for failing to sufficiently analyze its liability

    before seeking bankruptcy protection. 64 F.4th at 107-08. But LTL did nothing to

    cure that defect. Two days before the second bankruptcy, LTL’s Board acknowl-

    edged it had                                                           A2835. LTL’s

    CFO testified he was not aware of any evaluation, by LTL after this Court’s decision,

    of the cost to litigate talc claims in the tort system over the next year or even three

    years. A1829-1830. LTL simply refuses to accept this Court’s requirements.

           LTL remains a “shell company” with no business operations and no “need to

    reorganize.” 64 F.4th at 109. With “no going concerns to preserve—no employees,

    offices, or business other than the handling of litigation,” In re 15375 Mem’l Corp.

    v. BEPCO, L.P., 589 F.3d 605, 619 (3d Cir. 2009), its petition “ ‘cannot serve the

    rehabilitative purpose for which Chapter 11 was designed,’ ” 64 F.4th at 101.

           While LTL had no justification for surrendering its $61.5 billion payment

    right under the 2021 Funding Agreement, see pp. 18-23, supra, it admittedly lacks

    immediate financial distress even under the diminished 2023 Funding Agreement.

    LTL’s CFO could not “identify any financial consequence to LTL from terminating


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    the 2021 Funding Agreement” and testified that LTL was “able to meet its liabilities

    as they came due.” A1803 (21-25); A1829 (11-717) (emphasis added). LTL’s CLO

    agreed that LTL “has sufficient funds to pay off its debts currently as they come

    due,” A809 (14-15), and, “at the end of the day, we believe that we have sufficient

    funds to meet the liability,” A246 (20-21) (emphasis added). Taking “LTL at [its]

    word,” 64 F.4th at 109, those representations again defeat LTL’s attempt to prove

    financial distress.   LTL cannot, consistent with this Court’s mandate, declare

    bankruptcy a second time while retaining the very features that this Court held

    required dismissal of its first petition.

           LTL’s failures are particularly glaring given that LTL was, as the bankruptcy

    court recognized, “certainly on notice of the issue of dismissal based on the absence

    of good faith,” which was “raised, and requested, at the First Day hearings.” A21.

    LTL in no way lacked “an adequate opportunity to respond.” A21. It had every

    opportunity to address good faith, which its request for injunctive relief

    “[u]ndeniably” implicated. A21. It also had every incentive to address the issue,

    given that lack of good faith was the entire basis for dismissing its first bankruptcy.

                                                * * *

           This Court can—and should—hold that LTL’s lack of good faith and absence

    of financial distress require dismissal. See 64 F.4th at 110-11. At the very least, the

    preliminary injunction is improper. Unable to meet the basic requirements of


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    bankruptcy, LTL cannot show the reasonable likelihood of success needed to justify

    a preliminary injunction. See Section II, infra.

    II.    LTL DID NOT AND CANNOT SATISFY THE DEMANDING PRELIMINARY-
           INJUNCTION REQUIREMENTS

           Mandamus is also warranted because the bankruptcy court’s order defies basic

    principles governing the “ ‘extraordinary remedy’ ” of preliminary injunctive relief.

    Novartis Consumer Health, Inc. v. Johnson & Johnson-Merck Consumer Pharm.

    Co., 290 F.3d 578, 586 (3d Cir. 2002); see Alexander v. Primerica Holdings, Inc.,

    10 F.3d 155, 163 & n.9 (3d Cir. 1993) (abuse of discretion supports mandamus

    relief ). The movant has the burden of meeting all requirements for injunctive relief

    “by a clear showing.” Mazurek v. Armstrong, 520 U.S. 968, 972 (1997); see Winter

    v. NRDC, 555 U.S. 7, 22 (2008).

           It thus was LTL’s burden to clearly show (1) it is likely to succeed on the

    merits, (2) it will likely suffer irreparable harm if third-party trials are not enjoined,

    (3) the balance of equities favors it, and (4) an injunction is in the public interest.

    See Ferring Pharms., Inc. v. Watson Pharms., Inc., 765 F.3d 205, 210 (3d Cir. 2014).

    Failure to establish any “ ‘element renders a preliminary injunction inappropriate.’ ”

    Id. (ellipsis omitted); see In re Wedgewood Realty Grp., Ltd., 878 F.2d 693, 701 (3d

    Cir. 1989) (elements apply to injunctions under 11 U.S.C. § 105(a)).

           Rather than enforce those requirements, the bankruptcy court held LTL “need

    only show the possibility that it will succeed,” and granted an injunction because the

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    court was unwilling to find “no possibility of a successful reorganization.” A16;

    A23 (emphasis added). But this Court has consistently held that movants must

    demonstrate a reasonable “probability” of success. Mallet & Co. Inc. v. Lacayo, 16

    F.4th 364, 380 (3d Cir. 2021) (emphasis added). The Supreme Court has empha-

    sized that “ ‘[m]ore than a mere “possibility” of relief is required.’ ” Nken v. Holder,

    556 U.S. 418, 435 (2009) (emphasis added) (addressing parallel requirement for

    stay); cf. Winter, 555 U.S. at 22 (“ ‘possibility’ standard is too lenient” for showing

    likelihood of irreparable harm). Even the dissent the bankruptcy court cited for its

    mere “possibility” standard, A16, demanded a reasonable “ ‘probability’ ” of success,

    not mere possibility. Conestoga Wood Specialties Corp. v. Sec’y of U.S. Dep’t of

    Health & Human Servs., 724 F.3d 397 (3d Cir. 2013) (Jordan, J., dissenting).

           The bankruptcy court effectively conceded LTL could not establish a

    reasonable probability of success under the proper standard—much less make the

    “clear showing” precedent requires. Mazurek, 520 U.S. at 972. The court found

    LTL faces “an uphill battle.” A23. LTL offered “only speculation” that the 60,000

    “new claims” purportedly supporting its plan were “viab[le].” A18. LTL’s decision

    to give up $31 billion—“potentially [the] largest intentional fraudulent transfer

    undertaken in history”—“certainly appear[ed] to be manufactured.” A18, A23.

    Even if upheld, it was far from clear LTL’s intentional “reduction in funding” (or




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    LTL’s other maneuvers) “adds to—or creates—[the] financial distress” necessary to

    survive dismissal: “Maybe. Maybe not.” A45 (7).

           To succeed, LTL will have to prevail on each of those issues. Yet the

    bankruptcy court never found it reasonably probable LTL will succeed on even one,

    much less run the table and prevail on all.          Having concluded that LTL’s

    machinations “raise more questions regarding financial distress and good faith than

    they answer,” and that LTL “offered only speculation,” the bankruptcy court was

    required to deny injunctive relief. A18.

           To avoid that result, the court held uncertainty against claimants, invoking a

    supposed “conce[ssion] that it was uncertain” whether LTL could show financial

    distress. A22. But objectors were unequivocal that LTL had not established good-

    faith financial distress. A344-346. Regardless, granting an injunction despite “so

    many unanswered questions,” because “Objecting Parties” had not eliminated the

    “possibility of a successful reorganization,” A23 (emphasis added), inverts the

    burden of proof and applies a fundamentally erroneous standard. This Court,

    moreover, has already held LTL cannot satisfy its burden to show immediate

    financial distress while admitting “it can pay current and future talc claimants in

    full.” 64 F.4th at 109. The same remains true now.

           In LTL, this Court raised a litany of concerns about the bankruptcy court’s

    injunction restraining suits against non-debtors. 64 F.4th at 108 n.16. They remain


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    unaddressed.    This Court explained that the bankruptcy court’s prior analysis

    “lack[ed] full discussion” of “pertinent factors,” including (i) LTL’s (non-existent)

    indemnification obligations for J&J’s “independent, post-1979 conduct,” which

    gave rise to tort liability entirely separate from LTL’s; (ii) language in a 1979

    transfer agreement limiting LTL’s assumed liabilities to those “allocated on the

    books or records of J&J as pertaining to the BABY Division” (books and records

    LTL never examined); and (iii) LTL’s (lack of) indemnification obligations for

    punitive-damages liability under New Jersey law. Id.; see Johnson & Johnson v.

    Aetna Cas. & Sur. Co., 285 N.J. Super. 575, 580-89 (App. Div. 1995).              The

    bankruptcy court failed to address any of those identified problems. It simply

    readopted its prior reasoning, asserting that “[n]othing offered in the Third Circuit’s

    Opinion” warranted reexamination. A13-15.4

           The bankruptcy court’s irreparable-harm analysis is likewise indefensible.

    The court suggested that allowing trials against non-debtors would “negatively affect

    mediation, valuation, and claims estimation inside this bankruptcy.” A25. But this


    4
     The bankruptcy court cannot end-run the injunction factors by invoking § 362, A13;
    § 362’s “clear language” expressly limits it to suits “against the debtor.” Maritime
    Elec. Co. v. United Jersey Bank, 959 F.2d 1194, 1204 (3d Cir. 1991). It does not
    encompass suits against non-debtors for their own culpable acts, A.H. Robins Co. v.
    Piccinin, 788 F.2d 994, 999 (4th Cir. 1986), or cases where a further lawsuit would
    be required to impose debtor liability, In re Federal-Mogul Glob. Inc., 300 F.3d 368,
    382 (3d Cir. 2002)—much less cases where the asserted grounds for extending relief
    to non-debtors were created on the eve of bankruptcy solely to justify that relief,
    Combustion Engineering, 391 F.3d at 228.

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    Court found the opposite, explaining that further talc litigation would help rather

    than hinder reorganization by providing the bankruptcy “court with better guideposts

    when tackling” valuation and estimation. 64 F.4th at 103. The A.H. Robins bank-

    ruptcy, the Court noted, “had the benefit of data from 15 years of tort litigation.” Id.

    n.13. The bankruptcy court never responded to this Court’s concerns.

           On the balance of equities and public interest, the bankruptcy court brushed

    aside grave harms to talc claimants, who have already been denied their day in court

    for 18 months by LTL’s unlawful bankruptcy. Take Anthony Valadez, a 24-year-

    old whose mesothelioma has progressed so rapidly that his doctors stopped immuno-

    therapy treatments in January 2023. A2463 (¶ 21); A2468 (¶ 33). Anthony’s claims

    had been set for trial starting April 17, 2023. A2480 (¶ 68); A2596-2600 (Case

    Management Order). Now, he may die without getting his day in court.

           Other claimants with advanced terminal illnesses have seen trial dates

    deferred. Marlin Eagles, an 81-year-old with metastatic mesothelioma, was set to

    try his claims on May 1, 2023. A2712 (Order re: Trial); A2718 (¶ 8). That trial has

    been continued. A2721 (Case Management Statement). Another claimant with a

    May 1 trial date, Meredith Egli, has (again) been told she must wait. A2730 (Order

    re: Case Management Conference). Dozens of other epithelial ovarian cancer and

    mesothelioma cases awaiting trial across the country have likewise been stymied by

    LTL’s improper bankruptcy and the bankruptcy court’s injunction. E.g., A2838-


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    2839 (state court would consider consolidating cases for trial only “if the bankruptcy

    is dismissed”).

           In Gold v. Johns-Manville Sales Corp., 723 F.2d 1068, 1076 (3d Cir. 1983),

    this Court declined to enjoin suits against non-debtor co-defendants, citing the “hard-

    ship” to victims from “being forced to wait for an indefinite and . . . lengthy time

    before their causes are heard,” while “plaintiffs and crucial witnesses are dying,

    often from the very diseases” underlying the litigation. No less is true here. The

    public interest favors letting talc victims attain some measure of justice while they

    still can.

                                      CONCLUSION

           The petition should be granted and the case remanded with instructions to

    dismiss. At a minimum, the preliminary injunction should be vacated.




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           May 1, 2023                            Respectfully submitted,
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                        CERTIFICATE OF BAR MEMBERSHIP

           Pursuant to Third Circuit Local Rule 28.3(d), I certify that I am a member of

    the Bar of this Court.




           May 1, 2023                          /s/ Angelo J. Genova
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                           CERTIFICATE OF COMPLIANCE

           This brief complies with the type-volume limitation of Fed. R. App. P.

    21(d)(1) because this brief contains 7,786 words, excluding the parts of the brief

    required by Fed. R. App. P. 32(f ) and Fed. R. App. P. 21(a)(2)(C).

           This brief complies with the typeface requirements of Fed. R. App. P. 32(a)(5)

    and the type-style requirements of Fed. R. App. P. 32(a)(6) because this brief has

    been prepared in a proportionally spaced typeface using Microsoft Word in Times

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           This brief complies with the electronic filing requirements of Third Circuit

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                      CERTIFICATE OF FILING AND SERVICE

           I certify that today, May 1, 2023, I caused a true and correct copy of the

    foregoing to be served upon the parties listed on the Bankruptcy Court service list in

    Chapter 11 Case No. 23-12825 and Adversary Proceeding No. 23-01092, and

    arranged for a true and correct paper copy of the foregoing to be served upon the

    Bankruptcy Court by commercial carrier.

           I filed the foregoing Brief and Appendix Volume 1 with the Clerk of Court

    for the United States Court of Appeals for the Third Circuit via CM/ECF today.



           May 1, 2023                          /s/ Angelo J. Genova
                                                Angelo J. Genova
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NOT FOR PUBLICATION

 UNITED STATES BANKRUPTCY COURT
 DISTRICT OF NEW JERSEY
 Caption in Compliance with D.N.J. LBR 9004-2(c)




 LTL Management, LLC,
            Debtor.                                                        Case No. 23-12825 (MBK)


 LTL Management, LLC,                                                      Adv. Pro. No. 23-01092 (MBK)

                  Plaintiff,                                               Chapter 11

          v.                                                               Hearing Date: April 18, 2023

 Those Parties Listed on Appendix A to the Complaint
 and John and Jane Does 1-1000,

                  Defendants.




      All Counsel of Record



                                              MEMORANDUM OPINION
               This matter comes before the Court by way Debtor’s bankruptcy case (Case No. 23-12825)

      and subsequent adversary proceeding (Adv. Pro. No. 23-01092) and motion (“Motion”) (ECF No.

      2 in Adv. Pro. No. 23-01092) 1 filed by Plaintiff LTL Management, LLC (“LTL” or “Debtor”)

      seeking an Order (I) Declaring That the Automatic Stay Applies or Extends to Certain Actions

      Against Non-Debtors, (II) Preliminarily Enjoining Such Actions, and (III) Granting a Temporary


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       Unless otherwise specified, all ECF Nos. will refer to docket entries in the instant adversary proceeding (the “Second
      Talc Adversary Proceeding”), Adv. Pro. No. 23-01092.




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    Restraining Order Ex Parte Pending a Hearing on a Preliminary Injunction Filed by LTL

    Management LLC. The Court has fully considered the submissions of the parties and the

    arguments set forth on the record at a hearing held on April 18, 2023. The Court also takes judicial

    notice of prior rulings and documents filed in this and in the prior bankruptcy case (Case No. 21-

    30589) and the related adversary proceedings. 2 For the reasons set forth below, the Court grants

    Debtor’s Motion in part and denies the Motion in part and enters a limited preliminary injunction

    (the “Preliminary Injunction”). 3 Specifically—with the exception of the Multi-District Litigation

    (“MDL”)—the limited Preliminary Injunction will prohibit only the commencement or

    continuation of any trial and appellate practice against any of the parties identified in Appendix B

    to the Verified Complaint, as amended 4 (the “Protected Parties”), through and including June 15,

    2023, a period of approximately 60 days. No parties are enjoined or restrained from filing new

    complaints against non-debtor third parties, or from engaging in any ongoing discovery or other

    pre-trial matters. On the May 22, 2023 omnibus date, the Court will revisit the continuation and/or

    modification of the Preliminary Injunction as it relates the MDL pending before Judge Shipp. The



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      See In re Davis, 597 B.R. 770, 773 (Bankr. M.D. Pa. 2019) (“Federal Rule of Evidence 201 allows a federal court to
    take judicial notice of facts that are not subject to reasonable dispute. A bankruptcy court may take judicial notice of
    the docket entries in a case and the contents of the bankruptcy schedules to determine the timing and status of case
    events, as well as facts not reasonably in dispute.”); see also In re Washington Mut. Inc., 741 F. App'x 88, 89 n.1 (3d
    Cir. 2018) (citing McTernan v. City of York, 577 F.3d 521, 526 (3d Cir. 2009) and taking judicial notice of documents,
    “including matters of public record and judicial opinions”).
    3
     The Court also grants in part and denies in part Mr. Satterley’s Motion for Stay Relief (ECF No. 71 in Case No.
    23-12825). Although he may not proceed to trial, Mr. Satterley is granted limited stay relief against Debtor for
    purposes of taking discovery against Debtor related to the underlying state litigation. The Court has entered an
    Order to this effect in the main bankruptcy case. April 25, 2023 Order, ECF No. 298 in Case No. 23-12825.

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     As discussed on the record on April 20, 2023, Janssen Pharmaceuticals, Inc. and Kenvue Inc. are excluded, and the
    Preliminary Injunction does not extend to those entities.




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    Court issues the following findings of fact and conclusions of law as required by FED. R. BANKR.

    P. 7052. 5

    I.      Venue and Jurisdiction

            The Court has jurisdiction over this contested matter under 28 U.S.C. §§ 1334(a) and

    157(a) and the Standing Order of the United States District Court dated July 10, 1984, as amended

    September 18, 2012, referring all bankruptcy cases to the Bankruptcy Court. As explained in detail

    below, this matter is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2)(A) and (G).

    Venue is proper in this Court pursuant to 28 U.S.C. §§ 1408 and 1409.

    II.     Background

            The parties are familiar with the factual background and procedural history of this case.

    LTL, which is an indirect subsidiary of Johnson & Johnson (“J&J”), traces its roots back to

    Johnson & Johnson Baby Products, Company, a New Jersey company incorporated in 1970 as a

    wholly owned subsidiary of J&J. Declaration of John K. Kim in Support of First Day Pleadings

    (“Kim Decl.”) ¶¶ 13-15, ECF No. 4 in Case No. 23-12825. A thorough discussion of the history

    of J&J and its talc products can be found in this Court’s February 25, 2022 Opinion Denying the

    Motions to Dismiss and the Court will limit its recitation of the factual background here. See In re

    LTL Mgmt., LLC, 637 B.R. 396 (Bankr. D.N.J. 2022). In relevant part, in 1979, J&J transferred

    all its assets associated with the Baby Products division to J&J Baby Products Company (the “1979

    Agreement”). Thereafter, as the result of intercompany transactions, one of J&J’s corporate



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     To the extent that any of the findings of fact might constitute conclusions of law, they are adopted as such.
    Conversely, to the extent that any conclusions of law constitute findings of fact, they are adopted as such.




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    subsidiaries, Johnson & Johnson Consumer Inc. (“Old JJCI”) assumed responsibility for all claims

    alleging that J&J’s talc-containing products caused ovarian cancer and mesothelioma. Kim Decl.

    ¶¶ 16-21, ECF No. 4 in Case No. 23-12825.

           On October 12, 2021, Old JJCI engaged in a series of transactions pursuant to the Texas

    divisional merger statute, See Tex. Bus. Orgs. Code Ann. §§ 10.001 et seq. (the “2021 Corporate

    Restructuring”) through which it ceased to exist and two new companies, LTL and Johnson &

    Johnson Consumer Inc. (“New JJCI”), were formed. Kim Decl. ¶ 24, ECF No. 4 in Case No. 23-

    12825. The alleged purpose of this restructuring was to “globally resolve talc-related claims

    through a chapter 11 reorganization without subjecting the entire Old JJCI enterprise to a

    bankruptcy proceeding.” Kim Decl. ¶ 29, ECF No. 4 in Case No. 21-30589. As a result of the

    restructuring, LTL assumed responsibility for all of Old JJCI’s talc-related liabilities. Id. Through

    the restructuring, LTL also received rights under a funding agreement (the “2021 Funding

    Agreement”). Kim Decl. ¶ 32, ECF No. 4 in Case No. 23-12825. Under the 2021 Funding

    Agreement, J&J and New JJCI were obligated to pay, inter alia, the “Payee’s Talc-Related

    Liabilities”, as well as “any and all costs and expenses” LTL incurs during its bankruptcy case,

    “including the costs of administering the Bankruptcy Case” to the extent necessary. Funding

    Agreement 6, Annex 2 to Kim Decl. in Support of First Day Pleadings, ECF No. 5 in Case No. 21-

    30589; see also Kim Decl. ¶ 32, ECF No. 4 in Case No. 23-12825.

           On October 14, 2021, LTL filed its initial voluntary petition for chapter 11 relief in the

    United States Bankruptcy Court for the Western District of North Carolina. Petition, ECF No. 1

    in Case No. 21-30589. One week after the chapter 11 filing, Debtor initiated an adversary




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    proceeding (the “Talc Adversary Proceeding”), seeking declaratory and injunctive relief against

    plaintiffs (the “Talc Claimants”) who had filed federal and state actions against Debtor’s affiliates

    and other entities for talc-related claims (the “Talc Actions”). Complaint, ECF No. 1 in Adv. Pro.

    No. 21-03032. By way of the Talc Adversary Proceeding, the Debtor sought an order declaring

    that the automatic stay applies to those actions against nondebtors or, in the alternative, to enjoin

    such actions and grant a temporary restraining order pending a final hearing.                Debtor

    simultaneously filed a motion requesting a preliminary injunction enjoining the prosecution of

    actions outside of the chapter 11 case on account of the same talc claims that exist against the

    Debtor in the chapter 11 case. Motion, ECF No. 2 in Adv. Pro. No. 21-03032. Ultimately, the

    chapter 11 and related adversary proceeding case were transferred to the District of New Jersey.

    Following a five-day evidentiary hearing—during which the Court contemporaneously heard

    arguments on pending motions to dismiss—the Court denied the motions to dismiss in the

    underlying bankruptcy case and granted the motion for preliminary injunction in the Talc

    Adversary Proceeding. See In re LTL Mgmt., LLC, 637 B.R. 396 (Bankr. D.N.J. 2022) (denying

    motions to dismiss); In re LTL Management, LLC, 638 B.R. 291, 297 (Bankr. D.N.J. 2022)

    (granting preliminary injunction). Several other adversary proceedings followed wherein Debtor

    sought similar relief. See Securities Adversary Proceeding, Adv. Pro. No. 22-01073; Consumer

    Protection Adversary Proceeding, Adv. Pro. No. 22-01231. This Court likewise granted the

    motion for preliminary injunction and extended the automatic stay to nondebtor defendants in

    those actions. See In re LTL Mgmt., LLC, No. 22-01073, 640 B.R. 322 (Bankr. D.N.J. 2022); In re

    LTL Mgmt., LLC, 645 B.R. 59 (Bankr. D.N.J. 2022).




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           Meanwhile, several parties appealed this Court’s denial of the motions to dismiss and its

    imposition of a preliminary injunction in the Talc Adversary Proceeding. While the appeals were

    pending, New JJCI—which had continued operations—changed its name to Johnson & Johnson

    Holdco (NA) Inc. (“Holdco”) in December 2022. Kim Decl. ¶ 26, ECF No. 4 in Case No. 23-

    12825. Holdco is the direct parent of the Debtor. Id. at ¶ 27. In early January 2023, Holdco

    transferred its Consumer Business assets to its parent entity. Id. at ¶ 26.

           On January 30, 2023, the Third Circuit ruled on the pending appeals and issued an opinion

    directing this Court to dismiss the 2021 Chapter 11 Case (the “Third Circuit Opinion”). See In re

    LTL Mgmt., LLC, 58 F.4th 738 (3d Cir. 2023) as amended by 2023 WL 2726441 (3d Cir. Mar. 31,

    2023). Specifically, the Third Circuit ruled that the case was not filed in good faith due to Debtor’s

    lack of financial distress. The Debtor filed a petition for rehearing and rehearing en banc with the

    Third Circuit, which the circuit court denied on March 22, 2023. The Debtor then filed a motion

    seeking a stay of the Third Circuit’s mandate pending appeal to the United States Supreme Court,

    which the circuit court denied on March 31, 2023. This Court entered an order dismissing the

    initial chapter 11 bankruptcy case on April 4, 2023. Dismissal Order, ECF No. 3938 in Case No.

    21-30589. Approximately two hours later, Debtor initiated the instant bankruptcy case. Petition,

    ECF No. 1 in Case No. 23-12825. In conjunction with the Petition, Debtor filed “support

    agreements (collectively, the “Plan Support Agreements”) that have been executed and delivered

    by counsel on behalf of over 60,000 claimants and signed by the Debtor, Holdco and J&J[,]” which

    Debtor states demonstrates support for “an agreement with thousands of claimants on a broad

    outline of terms for a plan of reorganization, including financial terms, that, if confirmed and




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    consummated, would fully resolve all the Debtor’s liability for talc-related claims.” Kim Decl. ¶

    72, ECF No. 4 in Case No. 23-12825. Debtor also terminated the 2021 Funding Agreement and

    entered into “new financing arrangements.” Id. at ¶ 78. The new funding agreement (the “2023

    Funding Agreement”) “obligates Holdco to provide funding to the Debtor to pay for costs and

    expenses of the Debtor incurred in the normal course of its business” to the extent Debtor is unable

    to do so. Id. at ¶ 79. Debtor, Holdco and J&J entered into a separate agreement (the “J&J Support

    Agreement”), which operates only in the chapter 11 case and “obligates J&J to provide the trust

    funding Holdco is required to provide under the 2023 Funding Agreement but only if Holdco fails

    to provide the funding.” Id. at ¶¶ 80, 81.

            Shortly after filing the Petition, Debtor commenced the instant Adversary Proceeding and

    filed the Motion, which is the subject of this Opinion. The Court issued an ex parte Temporary

    Restraining Order (ECF No. 9), which was thrice amended (ECF Nos. 15, 16, and 20), and, at the

    parties’ request, the Court kept this matter on a tight timeframe, scheduling a hearing for April 18,

    2023. Multiple interested parties (collectively, the “Objecting Parties”) filed Objections to the

    Debtor’s Motion. 6 At the hearing on April 18, 2023, the parties presented argument, testimony,

    6
      See Objections filed by: Arnold & Itkin LLP (ECF No. 37); United States Trustee (ECF No. 38); Official
    Committee of Talc Claimants (“TCC”) (ECF No. 39); John M. August on behalf of Kristie Lynn Doyle (ECF No.
    43); John M. August on behalf of Trevor Barkley (ECF No. 46); John M. August on behalf of Alison Daugherty
    (ECF No. 51); John M. August on behalf of Marlin Lewis Eagles (ECF No. 53); John M. August on behalf of Susan
    Jean Bader (ECF No. 54); John M. August on behalf of Dean McElroy (ECF No. 56); Jerome Howard Block on
    behalf of Paul Crouch (ECF No. 57); Joinder filed by E. Richard Dressel on behalf of Evan Plotkin (ECF No. 58);
    Suzanne Ratcliffe on behalf of Various Talc Claimants, Katherine Tollefson (ECF No. 60); a Limited Objection by
    John Maloney on behalf of Travelers Casualty and Surety Company (f/k/a The Aetna Casualty and Surety
    Company) (“Travlers”) (ECF No. 61). Several parties also filed joinders and/or supplemental objections following
    the April 18, 2023 hearing. See Supplemental Objection filed by Jerome Howard Block on behalf of Paul Crouch
    (ECF No. 62); Supplemental Objection filed by Clay Thompson on behalf of Katherine Tollefson, Various Talc
    Claimants (ECF No. 65); Joinder of TCC’s Objection filed by Christopher M. Placitella on behalf of Justin Bergeron
    (ECF No. 80).




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    and admitted evidence into the record. To accommodate the parties’ request that the Court rule on

    this matter as soon as possible, the Court read an oral ruling into the record on April 20, 2023.

    This written Opinion is intended to clarify and supplement the oral opinion, the transcript of which

    is available on the docket at ECF No. 82 and is hereby incorporated by reference.

    III.    Discussion

            A. Authority and Standard for Extension of Stay to Nondebtors

            The Court discussed its authority to stay litigation against nondebtor third parties in its

    Opinions granting preliminary injunctions in the prior bankruptcy case. See In re LTL Mgmt., LLC,

    645 B.R. 59 (Bankr. D.N.J. 2022); In Re LTL Mgmt., LLC, 640 B.R. 322 (Bankr. D.N.J. 2022); In

    re LTL Management, LLC, 638 B.R. 291 (Bankr. D.N.J. 2022). The Court will not repeat the

    lengthy discussions therein and, instead, incorporates them by reference. In sum, the Court

    concludes that § 362(a), §105(a), or a court’s inherent powers can each serve as independent bases

    for extension of a stay to nondebtor third parties. Nevertheless, because certain courts in this

    circuit still view the source of authority to extend the automatic stay as an open-ended question,

    this Court will utilize the same three-step inquiry outlined in its prior decision to address the instant

    Motion. Namely, in determining whether to extend the automatic stay to nondebtor third parties,

    the Court considers: (1) whether it has jurisdiction to issue the injunction; (2) whether extension

    of the automatic stay under § 362(a) to the nondebtors is appropriate; and (3) whether the Court

    should, in its discretion, issue the injunction. In re LTL Mgmt., LLC, 638 B.R. at 301 (citing In re

    Philadelphia Newspapers, LLC, 423 B.R. 98, 102 (E.D. Pa. 2010)) (other citations omitted).




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                      1. Subject Matter Jurisdiction

             The Objecting Parties contend that the Debtor has failed to establish that this Court has

    subject matter jurisdiction to enjoin the Talc Actions. The Objecting Parties’ arguments in this

    respect are premised primarily on their contention that the instant bankruptcy was filed in bad faith

    and, thus, this Court does not have subject matter jurisdiction to enter any orders in this case. See

    e.g., Objection by TCC 16, ECF No. 39 (stating that “LTL’s failure to show financial distress or

    good faith [among other things] . . . deprives this Court of subject matter jurisdiction to enter the

    relief requested by this Motion”) 7; Objection by Maune Raichle Hartley French & Mudd, LLCR

    3, 5, 11-15, ECF No. 60 (positing that this Court lacks subject matter jurisdiction because the

    bankruptcy was not filed in good faith); id. at 14 (“Therefore, this Court accordingly has no

    jurisdiction over LTL’s instant Petition.”).              For reasons that will be discussed, this Court

    determines that it cannot, at this juncture, find that the petition was filed in bad faith sufficient to

    establish cause to dismiss. Accordingly, this Court again concludes that it has the authority to

    examine and determine the scope of a substantive right afforded under the Bankruptcy Code.

             “Bankruptcy jurisdiction extends to four types of title 11 matters: (1) cases ‘under’ title 11;

    (2) proceedings ‘arising under’ title 11; (3) proceedings ‘arising in’ a case under title 11; and (4)

    proceedings ‘related to’ a case under title 11.” Stoe v. Flaherty, 436 F.3d 209, 216 (3d Cir. 2006),

    as amended (Mar. 17, 2006) (citing 28 U.S.C. § 1334(b) and In re Combustion Eng'g, Inc., 391



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      The TCC also challenges this Court’s jurisdiction to enter an injunction under § 105, arguing that the Court the
    bankruptcy court does not have core or related-to jurisdiction over the claims in the tort cases sought to be enjoined.
    See e.g., TCC’s Objection 54, ECF No. 39. As an initial matter, this Court disagrees with the TCC’s position
    regarding a bankruptcy court’s authority to extend the automatic stay under § 362




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    F.3d at 225 (citations omitted)). “The first three categories are considered ‘core’ proceedings,

    whereas the fourth category, ‘related to’ proceedings, are considered ‘non-core’ proceedings.” In

    re E. Orange Gen. Hosp., Inc., 587 B.R. 53, 71 (D.N.J. 2018) (citing In re Resorts Int'l, Inc., 372

    F.3d 154, 162 (3d Cir. 2004)). A bankruptcy court has the power to hear, decide and enter final

    orders and judgments in the first three categories of proceedings. 28 U.S.C. §157(b)(1); In re

    Roggio, 612 B.R. 655, 660 (Bankr. M.D. Pa. 2020).

           A proceeding “arise[s] under” the Bankruptcy Code when the Bankruptcy Code creates the

    cause of action or provides the substantive right being invoked. Stoe v. Flaherty, 436 F.3d at 217.

    A proceeding “arise[s] in” a case when it is a proceeding that, by its nature, could arise only in the

    context of a bankruptcy case. Id. at 216 (quoting United States Trustee v. Gryphon at the Stone

    Mansion, Inc., 166 F.3d 552, 556 (3d Cir. 1999) and explaining that a proceeding arises in a

    bankruptcy case if it has “no existence outside of the bankruptcy”). Finally, “a claim falls within

    the bankruptcy court’s ‘related to’ jurisdiction if the outcome of that proceeding could conceivably

    have any effect on the estate being administered in bankruptcy.” In re Winstar Commc'ns, Inc.,

    554 F.3d 382, 405 (3d Cir. 2009) (internal quotations and citations omitted); see also In re W.R.

    Grace & Co., 591 F.3d 164. “What will or will not be sufficiently related to a bankruptcy to

    warrant the exercise of subject matter jurisdiction is a matter that must be developed on a fact-

    specific, case-by-case basis.” In re W.R. Grace & Co., 591 F.3d at 174 n.9.

           Here, Debtor’s Motion unquestionably implicates § 362(a), which is a substantive right

    under the Code. This Court certainly has jurisdiction to determine § 362(a)’s applicability and

    scope in this bankruptcy case, and—more specifically—whether it is appropriate to extend the




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    substantive rights afforded under § 362(a) to nondebtors. See, e.g., Lockyer v. Mirant Corp., 398

    F.3d 1098, 1100 (9th Cir. 2005) (holding that lower court had jurisdiction to determine whether

    the automatic stay of the Texas bankruptcy court applied to the Attorney General's suit).

    Therefore, the instant matter is decidedly a proceeding over which this Court has “core”

    jurisdiction. See LTL Mgmt., LLC v. Those Parties Listed on Appendix A to Complaint, 2022 WL

    190673, at *4 (collecting cases).

            Having found “core” jurisdiction over the instant Adversary Proceeding, there is no need

    for a secondary source of jurisdiction. See In re Essar Steel Minnesota, LLC, 47 F.4th 193 (3d Cir.

    2022) (discussing In re Shenango Group, Inc., 501 F.3d 338, 342–44 (3d Cir. 2007), and holding

    that where a court finds one type of jurisdiction, it need not go further in its jurisdictional inquiry).

    Nevertheless, given the lack of clarity regarding the appropriate authority to enjoin third party

    actions, the Court offers the following analysis and again determines that, at a minimum, it has

    “related to” jurisdiction. As discussed in prior opinions, continued litigation of talc claims against

    the Protected Parties—especially to the point of liquidation of a claim through trial—has a

    “conceivable effect” on the bankruptcy estate because it effectively seeks to collect and liquidate

    claims against Debtor, could deplete available insurance coverage, and could trigger

    indemnification obligations. More to the point, verdicts outside of bankruptcy will set a dollar

    amount to liability, and—whether those verdicts are in favor of Debtor or of individual claimants—

    they will certainly impact claims valuations, estimation, insurance, and mediation efforts inside

    this bankruptcy.




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           In sum, this Court previously held that there is an identity of interests between the Protected

    Parties and the Debtor, that the parties share insurance coverage, that there exist potential

    indemnification obligations, and that continued litigation has a potential adverse impact on a

    debtor's estate and prospect of reorganization. See In re LTL MANAGEMENT, LLC, 638 B.R. at

    303-306. (citing A.H. Robins Co. v. Piccinin, 788 F.2d at 999; see also McCartney, 106 F.3d at

    510); see also In re Boy Scouts of Am. & Delaware BSA, LLC, No. 20-10343-LSS, 2023 WL

    2662992 (D. Del. Mar. 28, 2023) (finding related-to jurisdiction based on identity of interest,

    shared insurance coverage, and indemnification obligations). Nothing presented in opposition to

    the instant Motion or in the Third Circuit’s Opinion changes that analysis. Therefore, the Court

    again concludes that it has subject matter jurisdiction.

                   2. The Automatic Stay Under § 362(a)

           The Court must next examine whether extension of the stay to nondebtors is appropriate

    given the circumstances. Section 362(a) provides, in relevant part, that

           a petition filed under section 301, 302, or 303 of this title . . . operates as a stay applicable
           to all entities, of—

                   (1) the commencement or continuation, . . . of a judicial, administrative, or other
                   action or proceeding against the debtor that was or could have been commenced
                   before the commencement of the case under this title, or to recover a claim against
                   the debtor that arose before the commencement of the case under this title;

                   ...

                   (3) any act to obtain possession of property of the estate or of property from the
                   estate or to exercise control over property of the estate[.]

    11 U.S.C. § 362(a)(1), (3).

                         (a) § 362(a)(1)




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           The Court previously held that the Talc Claims are, fundamentally, an attempt to liquidate

    and recover claims against the Debtor.       As this Court’s prior opinions observe, Debtor is

    responsible for any and all liabilities associated with the talc products by virtue of the 1979

    Agreement and the 2021 Corporate Restructuring. Accordingly, this Court previously concluded

    that the claims in the Talc Actions constitute “action[s] or proceeding[s] against the debtor,” for

    which the Debtor is entitled to protection under § 362(a)(1). Nothing offered in the Third Circuit’s

    Opinion or in the parties’ arguments compels deviation from this Court’s prior ruling.

                       (b) § 362(a)(3)

           “It has long been the rule in this Circuit that insurance policies are considered part of the

    property of a bankruptcy estate.” ACandS, Inc. v. Travelers Cas. & Sur. Co., 435 F.3d 252, 260

    (3d Cir. 2006) (collecting cases); see also In re W.R. Grace & Co., 475 B.R. 34, 148–49 (D. Del.

    2012), aff'd sub nom. In re WR Grace & Co., 729 F.3d 332 (3d Cir. 2013). Here, it is undisputed

    that the Protected Parties and Debtor share insurance policies. Although, certain coverage is

    disputed, and no definitive determination has been made as to exhaustion, the shared policies—

    which are undeniably part of the bankruptcy estate—may be impacted by any judgment obtained

    by the Talc Claimants against the Protected Parties outside of bankruptcy. See In re Boy Scouts of

    Am. & Delaware BSA, LLC, 2023 WL 2662992, at *22-24.            These same circumstances led this

    Court to extend the automatic stay to the Protected Parties in the initial bankruptcy case. The

    Objecting Parties do not present a persuasive argument that warrants alteration of this Court’s

    previous finding. Likewise, the Third Circuit’s Opinion does not demand reconsideration of this




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    matter. Accordingly, the Court again concludes that an extension of the automatic stay under §

    362(a)(3) is appropriate.

                       (c) “Unusual Circumstances”

           The Third Circuit has recognized that § 362(a)’s protection is applicable to nondebtors

    where “unusual circumstances” exist. McCartney v. Integra Nat. Bank N., 106 F.3d 506, 510 (3d

    Cir. 1997) (citing A.H. Robins Co., Inc. v. Piccinin, 788 F.2d 994, 999 (4th Cir.), cert. denied, 479

    U.S. 876, 107 S. Ct. 251, 93 L.Ed.2d 177 (1986)); see also In re Philadelphia Newspapers, LLC,

    423 B.R. at 104. When deciding to extend the stay to nondebtors, the Court follows the Third

    Circuit’s guidance and considers the “unusual circumstances” present in the instant case—namely,

    the identity of interests between Debtor and the Protected Parties and the potential prejudicial

    impact of Talc Action verdicts outside of bankruptcy on Debtor’s reorganizational efforts. See In

    re Philadelphia Newspapers, LLC, 407 B.R. 606, 616 (E.D. Pa. 2009) (explaining that unusual

    circumstances exist warranting extension of the stay to nondebtors when: “(i) the non-debtor and

    debtor enjoy such an identity of interests that the suit of the non-debtor is essentially a suit against

    the debtor; or (ii) the third-party action will have an adverse impact on the debtor's ability to

    accomplish reorganization”); see also In re LTL Management, LLC, No. 21-30589, 2022 WL

    586161, at *9 (explaining that “a critical factor in deciding whether to extend the stay is the

    potential adverse impact on a debtor’s estate and prospect of reorganization”).

           The Court’s analysis of the potential harm to the bankruptcy estate from trials in the Talc

    Actions mirrors the jurisdictional analysis previously discussed—particularly, the Court’s findings

    regarding “related to” jurisdiction. See In re Boy Scouts of Am. & Delaware BSA, LLC, 2023 WL




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    2662992, at *18-24.          Those same considerations supporting subject matter jurisdiction also

    support the conclusion that “unusual circumstances” exist warranting extension of § 362(a)’s

    automatic stay protection to the nondebtor defendants in the Talc Actions. 8

                     3. § 105(a) Injunction

            The Court next turns to address the parties’ competing positions as to whether an

    injunction under § 105(a) is appropriate. Pursuant to § 105(a) of the Bankruptcy Code, “[t]he

    court may issue any order, process, or judgment that is necessary or appropriate to carry out the

    provisions of this title.” 11 U.S.C. § 105(a). “The issuance of an injunction under section 105(a)

    is governed by the standards generally applicable to the issuance of injunctive relief in non-

    bankruptcy contexts.” In re Philadelphia Newspapers, LLC, 423 B.R. at 105. In determining

    whether a preliminary injunction is appropriate, the Court considers the following factors:

            (1) whether the movant has shown a reasonable probability of success on the merits;
            (2) whether the movant will be irreparably injured by denial of the relief; (3)
            whether granting preliminary relief will result in even greater harm to the
            nonmoving party; and (4) whether granting the preliminary relief will be in the
            public interest.

    McTernan v. City of York, Pa., 577 F.3d 521, 527 (3d Cir. 2009) (quoting United States v. Bell,

    414 F.3d 474, 478 n.4 (3d Cir. 2005)); see also ADP, Inc. v. Levin, No. 21-2187, 2022 WL

    1184202, at *1 (3d Cir. Apr. 21, 2022) (citing Reilly v. City of Harrisburg, 858 F.3d 173, 176

    (3d Cir. 2017), as amended (June 26, 2017)). “A preliminary injunction is an ‘extraordinary


    8
      In the Third Circuit Opinion, the circuit court held that “unusual circumstances” were not present in the Debtor’s
    prior bankruptcy case. In re LTL Mgmt., LLC, 64 F.4th 84, 110-111 (3d Cir. 2023). However, this finding was made
    in different context—specifically, in the context of examining dismissal under § 1112(b)—and not in examining
    extension of the automatic stay, which is the issue presently before this Court.




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    remedy, which should be granted only in limited circumstances.’ ” Kos Pharmaceuticals Inc. v.

    Andrex Corp., 369 F.3d 700, 708 (3d Cir. 2004) (quoting Instant Air Freight Co. v. C.F. Air

    Freight, Inc., 882 F.2d 797, 800 (3d Cir. 1989)).

                           a. Success on the Merits

             “In the bankruptcy context, reasonable likelihood of success is equivalent to the debtor's

    ability to successfully reorganize.” In re Union Tr. Philadelphia, LLC, 460 B.R. 644, 660 (E.D.

    Pa. 2011) (quoting In re Monroe Well Serv., Inc., 67 B.R. 746, 752 (Bankr. E.D. Pa. 1986)

    (explaining reasonable likelihood of success in terms of a successful reorganization)).                                 To

    demonstrate a reasonable likelihood of success, a movant need only show the prospect or

    possibility that he or she will succeed, and need not prove same with certainty. See Conestoga

    Wood Specialties Corp. v. Sec'y of U.S. Dep't of Health & Human Servs., 724 F.3d 397 (3d Cir.

    2013) (Jordan, J., dissenting) (reversed and remand on other grounds) (collecting cases). At this

    juncture, Debtor has met its burden. 9 Indeed, Debtor has outlined its reorganizational strategy,

    executed a funding agreement (albeit a new one), and it has come to this bankruptcy court alleging

    that the plan it intends to file will have the support of nearly 60,000 claimants. Admittedly, as the

    Objecting Parties argue, this creditor support is not guaranteed. However, case law establishes

    that certainty is not required; a debtor need only show the possibility that it will succeed—a hurdle

    that this Debtor has cleared given the early stages of this litigation. 10 See Conestoga, 724 F.3d 397.


    9
      As recognized repeatedly in the Court’s prior published opinions, the burden rests on the Debtor to establish the
    likelihood of success. The to the extent the Court was unclear in articulating the standards in its oral ruling, this
    Opinion reaffirms and clarifies the law and the Court’s finding that the Debtor has satisfied its burden.

    10
      The Court notes that during oral argument on April 18, 2023, Counsel for the United States Trustee argued that
    the “likelihood of success” inquiry should be focused on the non-debtor affiliates. See Tr. Apr. 20, 2023 Hrg. 37:10-




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                             i. Good Faith

             The Objecting Parties argue that Debtor has not satisfied its burden of establishing a viable

    prospect of successful reorganization. Specifically, the Objecting Parties assert that Debtor has no

    realistic possibility of success because the bankruptcy was not filed in good faith. “Once at issue,

    the burden falls upon the bankruptcy petitioner to establish that the petition has been filed in ‘good

    faith.’ ” In re SGL Carbon Corp., 200 F.3d 154, 162 n.10 (3d Cir. 1999) (citations omitted). As

    stated, Debtor has executed a funding agreement and has outlined its reorganizational strategy for

    which it alleges it has the support of 60,000 claimants as evidenced by the Plan Support

    Agreements.

             Our Third Circuit has made clear that it views the gateway to good faith as being a

    determination that a debtor is in financial distress. During oral argument at the hearing on April

    18, 2023, counsel for various Objecting Parties argued that this determination should be

    straightforward. Essentially, they inquired whether anything occurred in the 2 hours and 11

    minutes between filings, and after the Third Circuit’s ruling, which changed the Debtor’s financial

    situation and created distress. As this Court discussed during its oral ruling on April 20, 2023, the

    Court does not agree that this is the appropriate inquiry for applying the Third Circuit’s financial

    distress ruling. Rather, this Court believes the focus should be on whether anything changed in


    12, ECF No. 81 (“Likelihood of success on the merits, remember, this is likelihood of success from the non-debtor
    affiliates. Not LTL, non-debtor affiliates.”). The Court disagrees and believes the United States Trustee conflates
    the inquiry for purposes of a preliminary injunction in the bankruptcy context. The weight of the case law
    establishes that when assessing whether to grant a preliminary injunction in bankruptcy, courts should evaluate the
    reasonable likelihood of a debtor’s successful bankruptcy reorganization. See, e.g., In re G-I Holdings Inc., 420 B.R.
    216, 281 (D.N.J. 2009) (discussing plan feasibility and describing the first factor in the test for a preliminary
    injunction as “a reasonable likelihood of a successful plan of reorganization”); In re Union Tr. Philadelphia, LLC,
    460 B.R. 644, 660 (E.D. Pa. 2011); In re Monroe Well Serv., Inc., 67 B.R. 746, 752 (Bankr. E.D. Pa. 1986).




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    the debtor’s financial picture since October of 2021—the date of the first filing and the period

    fixed for purposes of the five-day trial undertaken in February of 2022—and April 4, 2023, the

    date of the second filing. This Court observed the following changes, which raise more questions

    regarding financial distress and good faith than they answer:

       •   First, claims against the Debtor have increased from approximately 41,000 to (in all

           likelihood) well over 100,000. It is uncertain whether these new claims are supportable;

           however, the parties offered only speculation in support of their respective positions as to

           viability. Accordingly, the Court cannot make a conclusive determination at this time, and

           it remains unclear whether the increased volume of claims adds to—or creates—financial

           distress for this Debtor.

       •   Second, since the first bankruptcy filing, the acknowledged floor for the Debtor’s talc

           liability has increased from $2 billion to $8.9 billion, with questions remaining as to

           whether this sum would cover the billions claimed due for third-party providers, state

           regulators, Canadian class actions, and indemnified parties, among others. It is unclear

           whether this increased floor of debt adds to—or creates—financial distress for this Debtor.

       •   Third, since the first filing, the Debtor’s funding resources have been reduced from

           approximately $61 billion to potentially upwards of $30 billion. The Court acknowledges

           that the reduction certainly appears to be manufactured by the Debtor, Holdco, and J&J in

           direct response to the Third Circuit’s ruling. Nevertheless, it is unclear whether this

           reduction in funding adds to—or creates—financial distress for this Debtor. The Objecting

           Parties assert that the manner in which these transactions were undertaken gives rise to




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           independent bases for a bad faith finding. However, the record is not developed as to this

           issue. For example, it remains unclear whether the transactions give rise to fraudulent

           transfer liability for the benefit of the Debtor’s creditors. Indeed, constructive fraud

           generally under the Bankruptcy Code and state law requires a determination of insolvency.

           See 11 U.S.C. § 548(a)(1)(B)(ii)(I). The Court is unable to conclude on this record that the

           Debtor’s liabilities exceed its assets. Indeed, the extent of the liabilities has not been

           anywhere close to being fixed. The Third Circuit specifically cautioned and admonished

           against “casual[] . . . calculations” and “back-of-the envelope forecasts.” In re LTL Mgmt.,

           LLC, 64 F.4th at 108. Given the limited record, this Court cannot make an informed

           determination, calculation, or comparison of the assets and liabilities of this Debtor,

           which—the Third Circuit instructs—is the entity upon which the inquiry should be focused.

           See id. at 105-106. The Objecting Parties likewise admit uncertainty exists as to the true

           value of Debtor’s liabilities compared to its assets. See, e.g. Tr. Apr. 18, 2023 Hrg. 280:13-

           16 (“I’m not sure that the Third Circuit Court of Appeals would accept that if in fact the

           total claims are 15 billion and they have the wherewithal of 30 billion, I don’t know if that’s

           financial distress.”) (emphasis added); Id. at 281:23 – 282: 3 (“The point is there’s a lot [of

           liability], you’ve got to look under the hood a little bit. And yes, there’s more, you know

           there’s more there. I can’t, and I’m not here to tell you exactly what that number is and I’m

           not here to necessarily say as against $30 billion that’s evidence of financial distress.”).

                  As to actual fraud, this Court is unable to conclude on this record whether there has

           been an actual intent to hinder, delay, and defraud creditors. See 11 U.S.C. § 548(a)(1)(A).




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           This inquiry requires the Court to determine Debtor’s subjective intent—a task rendered

           nearly impossible without knowing the extent of the liabilities and whether it is reasonable

           to believe that the Debtor’s remaining assets are sufficient to cover such liabilities.

       •   Finally, the Court is troubled by the uncertainty that flows from the loss of value in the

           funding agreements and the potential impact of this funding loss on the interests of

           creditors of the estate. It is unclear what will occur if this case is dismissed. Undoubtedly,

           the lawyers that represents the Talc Claimants will fight zealously and tirelessly for their

           individual clients. Questions remain, including: “Who will pursue the claims for the

           possible loss in funding value?” “Who will fight for the other 100,000 or so claimants to

           pursue any claims that may arise out of the transactions?” And, “Outside of a bankruptcy,

           who will fight to protect the interests of future claimants?” While not dispositive on their

           own, these concerns certainly factor into the good faith analysis and the appropriateness of

           dismissal under § 1112(b), which are the foundations of the Objecting Parties’ arguments

           against reasonable likelihood of this Debtor’s successful reorganization.

           To be clear, this Court does not doubt its authority to sua sponte dismiss a chapter 11

    bankruptcy case for bad faith. See 11 U.S.C. § 1112(b); see also, e.g., In re C-TC 9th Ave. P'ship,

    113 F.3d 1304, 1310 (2d Cir. 1997) (“A bankruptcy court may dismiss a bad faith filing on an

    interested party's motion or sua sponte.”); Argus Grp. 1700, Inc. v. Steinman, 206 B.R. 757, 766

    (E.D. Pa. 1997). However, “[t]he power of the court to act sua sponte should be used sparingly

    and only in emergency situations.” 11 U.S.C. § 1112(b) (advisory committee notes). Moreover,

    before taking action, a court must satisfy due process rights by providing a debtor with notice of




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    the issue and an opportunity to address it, and the court must engage in extensive fact-finding. See,

    e.g., In re PPI Enterprises (U.S.), Inc., 324 F.3d 197, 211 (3d Cir. 2003); In re SGL Carbon Corp.,

    200 F.3d 154, 162 (3d Cir. 1999). Here, Debtor was certainly on notice of the issue of dismissal

    based on the absence of good faith—it was raised, and requested, at the First Day hearings in this

    bankruptcy case. However, the Court questions whether Debtor had an adequate opportunity to

    respond. Indeed, the Motion presently before the Court and argued at the hearing on April 18,

    2023, was devoted primarily to Debtor’s request for a preliminary injunction for which Debtor

    bears the burden. Undeniably, the issue of good faith was implicated in the context of this Motion.

    However, the Court questions whether the Debtor—who was focused on satisfying its burden

    demonstrating entitlement to extension of the automatic stay—was provided with an adequate

    opportunity to also satisfy its burden of establishing good faith. See In re SGL Carbon Corp., 200

    F.3d 154, 162 n.10 (3d Cir. 1999) (“Once at issue, the burden falls upon the bankruptcy petitioner

    to establish that the petition has been filed in ‘good faith.’ ”) (collecting cases).

             In any event, the Court determines—for reasons discussed—that the factual record is too

    uncertain and undeveloped for this Court to exercise its sua sponte dismissal authority, which the

    Rules themselves advise should be used “sparingly and only in emergency situations.” 11 U.S.C.

    § 1112(b) (advisory committee notes). As always, the Court acknowledges and appreciates the

    time-sensitivity of rulings in this case given the health of Talc Claimants. However, in light of the




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    extremely limited nature of the preliminary injunction issued, the Court does not view these

    circumstances as presenting an emergent situation warranting immediate, sua sponte dismissal. 11

             In short, this Court is constrained to apply the Third Circuit’s ruling to the facts of the

    present case. The Third Circuit’s ruling was limited to a bad faith finding based on the absence of

    financial distress. As outlined, the Debtor’s financial circumstances have changed since the time

    of the last filing, and the question of financial distress remains an open one for now. In response

    to the Court’s question during oral argument on April 18, 2023, the Objecting Parties conceded

    that it was uncertain whether Debtor’s new financial circumstances—consisting of funding

    resources of approximately $30 billion and liabilities that the Objecting Parties argue exceed the

    $8.9 settlement by billions—evidence financial distress. See, e.g. Tr. Apr. 18, 2023 Hrg. 280:13-

    16 (“I’m not sure that the Third Circuit Court of Appeals would accept that if in fact the total

    claims are 15 billion and they have the wherewithal of 30 billion, I don’t know if that’s financial

    distress.”) (emphasis added); Id. at 281:23 – 282:3; see also TCC’s Objection 31, ECF No. 39

    (describing Debtor’s $8.9 billion settlement as “illusory” because it proposes to settle all present

    and future Talc Claims as well as “billions of dollars of claims asserted by third-party payors and

    governmental units, and billions of dollars of claims for indemnification and other damages

    asserted by co-defendants, retailers, talc suppliers . . . and any drugstore or supermarket that sold

    J&J’s toxic baby-powder,” which “will substantially dilute the funds available to pay individual

    claimants”). The Court further acknowledges the Objecting Parties’ contention that Debtor’s



    11
      The Court notes that the TCC has already filed a Motion to Dismiss (ECF No. 286 in Case No. 23-12825) and
    perceives that as the more appropriate vehicle to directly address this issue and develop the necessary factual record.




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    “[f]inancial distress stemming from a fraudulent transfer does not satisfy good faith.” Maune

    Raichle Hartley French & Mudd’s Objection 29-30, ECF No. 60. As discussed, however, the

    Court cannot make a determination as to whether a fraudulent transfer occurred on this record.

               For these reasons, the Court cannot, at this juncture, sua sponte dismiss the case or rely on

    bad faith as a basis to deny the Preliminary Injunction Motion. That being said, the Court is

    skeptical and will require well-supported and timely showings by the Debtor that this

    reorganization continues to have a chance of success. Undoubtedly, Debtor has an uphill battle.

    In response to a motion to dismiss, Debtor will likely have to address unresolved issues such as

    the voidability of the 2021 Funding Agreement, the potentially “largest intentional fraudulent

    transfer in United States history,” 12 and the need to acquire 75% support for its plan. But, at this

    point, with so many unanswered questions, the Court cannot agree with the Objecting Parties that

    there is no possibility of a successful reorganization premised upon the bad faith objections of

    certain claimants—vehement as they may be. As stated, the Debtor comes to this bankruptcy with

    an estimated 60,000 claimants in support of its proposed settlement. This Court cannot discount

    those claimants’ rights and preferences in favor of others. Notwithstanding, claimants who have

    had their claims and litigation stalled during the pendency of the prior bankruptcy should not lose

    more valuable time. Therefore, the Court will replace the TRO with a more limited preliminary

    injunction discussed in detail in the Section C of this Opinion.




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         TCC’s Objection 14, ECF No. 39.




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                       b. Irreparable Injury

           The Court next assesses whether Debtor is likely to suffer irreparable injury without the

    requested relief. In its prior Opinions, this Court discussed in detail the considerations central to

    the irreparable injury inquiry, summarizing as follows:

           In sum, the Court recognizes that the alleged irreparable harm cannot be too
           remote—in terms of time—or too speculative—in terms of likeliness to occur. As
           stated previously, to hold otherwise would contradict developed case law and the
           Third Circuit’s instruction that preliminary injunctions should be granted only in
           limited circumstances. Nevertheless, this Court concludes that the test for whether
           irreparable harm has been demonstrated in the context of a bankruptcy case should
           encompass a broader view of the impact on the debtor and can take into account
           risks of negative consequences.

    In Re LTL Mgmt., LLC, 640 B.R. 322, 341 (Bankr. D.N.J. 2022). The Court incorporates the

    framework previously utilized by reference and employs the same analysis here. For reasons

    already discussed, this Court concludes that liquidation of individual talc claims via trial verdicts

    will have an adverse impact on the bankruptcy estate by hindering mediation efforts, impacting

    the claims liquidation and estimation processes, and possibly strengthening insurance defenses

    against coverage—all of which will impair reorganization efforts and drain resources and time.

           The Objecting Parties contend that Debtor has failed to demonstrate imminent, irreparable

    harm. Specifically, the TCC asserts that the Third Circuit’s Opinion forecloses the Debtor’s

    argument as to irreparable harm. TCC’s Objection 58, ECF No. 39. The TCC relies on the portion

    of the Third Circuit’s decision wherein it observed that “a longer history of litigation outside of

    bankruptcy may provide a court with better guideposts when tackling [issues surrounding

    valuation of claims].” In re LTL Mgmt., LLC, 64 F.4th at 103. However, the Third Circuit made

    those statements in the larger context of discussing the many forms of financial distress that can




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    lead to a hypothetical debtor’s chapter 11 bankruptcy filing and the many factors that must be

    considered. In that same section, the Third Circuit concluded that “[t]he takeaway here is that

    when financial distress is present, bankruptcy may be an appropriate forum for a debtor to address

    mass tort liability.” Id. at 104. Thus, nothing in the Third Circuit’s decision regarding Debtor’s

    financial distress precludes this Court from concluding that, in the present circumstances, Debtor

    will suffer irreparable harm if Talc Claims are allowed to proceed to trial. Again, it is this Court’s

    view that allowing the Talc Claims to be liquidated outside of this bankruptcy will irreparably

    harm this Debtor because such liquidation will negatively affect mediation, valuation, and claims

    estimation inside this bankruptcy.

                       c. Harm to Nonmoving Party

           The Court must also consider whether granting preliminary relief will result in even greater

    harm to the nonmoving party—here, the Talc Claimants. Given the very limited nature of the

    Preliminary Injunction, this Court concludes that the Talc Claimants will not be harmed. The

    Objecting Parties independently cite the postponement of the Talc Claimants’ litigation as a “grave

    injustice” or “extreme prejudice” that can be avoided only by denying Debtor’s Motion in its

    entirety. See, e.g., TCC’s Objection 59, ECF No. 39; Maune Raichle Hartley French & Mudd’s

    Objection 37, ECF No. 60. However, the Court has already ruled that, under the circumstances,

    Talc Claimants who have had their claims and litigations stalled during pendency of the prior

    bankruptcy case should not lose more valuable time. Accordingly, as more fully described in the

    Section C, Talc Claimants may proceed with litigation up to the point of trial. The only exception

    is that restraints remain in place as to the MDL and, as stated, this Court has agreed with Judge




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    Shipp that the Preliminary Injunction will be revisited at the Court’s Omnibus Hearing scheduled

    for May 22, 2023. Accordingly, the Court does not perceive any harm to the Talc Claimants in

    imposing the limited Preliminary Injunction contemplated herein. 13

                          d. Public Interest

             As to the fourth factor, the Court has weighed all competing factors and concludes that

    granting the preliminary injunction would be in the public interest. The Objecting Parties argue

    that the public interest is best served by affording the Talc Claimants their day in court and their

    constitutional right to a jury trial. See, e.g., TCC’s Objection 60, ECF No. 39. They assert that

    only the Debtor’s interests are served by a preliminary injunction. See Maune Raichle Hartley

    French & Mudd’s Objection 38, ECF No. 60. (“[T]he only benefit advanced by an injunction here

    would flow to one group of private corporate affiliates[.]”). However, as discussed, this Court

    must also consider the desires and interests of the claimants who purportedly are in support of the

    Debtor’s reorganization and the settlement proposed therein. As it did in its prior Opinions, the

    Court also considers interests of future talc claimants. See, e.g., In re LTL MANAGEMENT, LLC,

    638 B.R. 291, 323 (Bankr. D.N.J. 2022). Further, the Objecting Parties here raise the same policy



    13
       The Court is mindful of Mr. Satterley’s Motion and respects the time-sensitivity of his litigation given the medical
    condition of his client, Emory Valadez. As set forth on the record during the hearings on Emory Valadez’s Motion
    for Stay Relief (ECF No. 71 in Case No. 23-12825), Mr. Satterley has approximately 16 remaining depositions to
    take. See Affidavit of Joseph Satterley 12, ECF No. 71-2. Mr. Satterley confirmed these depositions remained
    outstanding at the hearing on April 18, 2023, and indicated that it would take approximately “10 days” or “a little bit
    longer” to complete them. Tr. of Apr. 18, 2023 Hrg. 316:13-15, 24-25. Based on oral argument on April 11, 2023, it
    is also the Court’s understanding that certain motion practice remains. Tr. of Apr. 11, 2023 Hrg. 200:3-5, 15-24.
    While the Court has every confidence that Judge Seabolt in California, who is handling the Valadez state litigation,
    can expeditiously move the matter along, this Court is doubtful that its ruling on Mr. Satterley’s Motion—which
    precludes only trial and will be revisited on May 3, 2023 to consider the progress made in the state case—will have
    any real-world impact on the Valadez litigation.




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    considerations and allegations of abusive practices as were raised in oppositions to similar motions

    in the prior bankruptcy case. There, this Court held:

           Congress implemented § 524(g) and granted the bankruptcy court broad equitable
           powers under § 105(a) to serve a purpose under a specific set of circumstances.
           When companies can utilize that statute for their benefit and the benefit of existing
           and future claimants, they should be permitted to do so. Admittedly, the bankruptcy
           system—like the mass tort system, or any tool in the proverbial “toolbox”—is
           susceptible to abuse. However, this Court does not believe that mere potential for
           abuse requires removal of a tool from the toolbox. Instead, the potential for abuse
           demands stronger scrutiny. Thus, courts must conduct a fact-specific inquiry in
           each case and determine—among other things—whether an appropriate set of
           circumstances are present, whether an entity is in compliance with statutory
           regulations, whether a valid reorganization purpose exists, and whether innocent
           third parties will be unduly prejudiced. After considering those factors in the
           context of this case, the Court determines that extension of the automatic stay to
           the Protected Parties is warranted. Given that this determination is limited to the
           unique facts of the case presently before the Court, this ruling will not open the
           floodgates to an unchecked, unregulated, or inherently abusive method of
           addressing liability.

    Id.

           Nothing in the Objecting Parties’ arguments or in the Third Circuit’s Opinion warrant

    reconsideration. This Court continues to believe that—assuming the bankruptcy is found to be in

    good faith—claim resolution through the bankruptcy process is in the public interest, especially

    when it is supported by the talc claimants themselves. See In re LTL Mgmt., LLC, 637 B.R. 396.

    A settlement trust benefits claimants—whose time is valuable and may be limited due to their

    illness—by streamlining the claim recovery process. Additionally, a bankruptcy trust protects the

    needs of future talc claimants. Certainly, the chapter 11 bankruptcy and resolution of Talc Claims

    are of paramount public import.




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            In conducting this analysis, the Court considers the public policy concerns that underlie

    every decision made in this case and balances the equities on all sides. Indeed, as explained above

    and emphasized in this Court’s prior opinions, the Debtor’s reorganization and the uniform, timely,

    and equitable resolution of the Talc Claims for the benefit of injured parties—existing and future—

    are at the forefront of this Court’s mind. The Talc Actions seek to liquidate talc claims against

    Debtor, itself, and against Debtor’s affiliates.

            B. Protected Parties

            At the request of all parties, the Court considered the instant Motion—including thousands

    of pages of briefing and exhibits, and hours of oral argument and testimony—on an extremely

    truncated timetable. As a result, the Court was unable to conduct a thorough analysis as to the

    appropriateness of extending the stay to each, individual Protected Party listed on Appendix B.

    Nevertheless, given the limited scope of the restrictions imposed by way of the Preliminary

    Injunction, the Court is confident that no Talc Claimants are prejudiced by the broad scope of the

    parties to whom the Preliminary Injunction applies. To the extent an interested party objects to

    the extension of the automatic stay to a particular Protected Party, the Court is certainly willing to

    revisit the appropriateness of its ruling as to that entity.

            C. The Limited Preliminary Injunction

            For the aforementioned reasons, the Court determines that the TRO formerly in place

    should be dissolved and replaced with a far more limited preliminary injunction. Needless to say,




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    the automatic stay remains in effect as to the Debtor. 14 The more limited preliminary injunction

    to be entered will prohibit the commencement or continuation of any trial against any of the

    Protected Parties identified in Appendix B to the Verified Complaint, as amended, 15 through and

    including June 15, 2023—a period of approximately 60 days. The Court is neither enjoining, nor

    restraining the filing of new complaints against non-debtor third parties, any ongoing discovery,

    or other pre-trial matters.

                      1. The MDL

             The restraints included in the current, amended Temporary Restraining Order (ECF No.

    20) will remain in effect as to the MDL pending before Judge Michael Shipp. This Court has been

    in communication with Judge Shipp and we both agree that the continuing restraints as to the MDL

    will be revisited, along with the continuing appropriateness of the Preliminary Injunction, at the

    Court’s Omnibus Hearing scheduled for May 22, 2023.

                      2. Tolling

             With respect to the Section 108(c) tolling provisions relative to the statute of limitations

    for unfiled claims, at the Court’s suggestion the Preliminary Injunction Order includes language

    indicating that the automatic stay under § 362(a) remains in effect for unfiled claims unless the

    claimant, through counsel, notifies the Debtor in writing of his, her or their intent to proceed with

    filing a complaint. Preliminary Injunction ¶¶ 5, 6, ECF No. 91. The purpose of this language is to


    14
       With the exception of certain relief having been afforded to Mr. Satterley as the result of his Motion for Stay
    Relief (ECF No. 71 in Case No. 23-12825), discussed infra.

    15
      With the exception of Janssen Pharmaceuticals, Inc. and Kenvue Inc., as discussed on the record during the April
    20, 2023 hearing.




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    ensure that such claimants who wish to defer filing a complaint and paying the necessary filing

    fees while the bankruptcy case unfolds are not placed in the position of having to file.

                   3. Emory Valadez’s Motion for Stay Relief

           With respect to the Valadez matter, this Court wrestled with the same issue it had to tackle

    in the prior case; namely, whether it is ever appropriate to start picking and choosing which

    claimant—among thousands—should be permitted to go forward and liquidate claims, while

    others abide by the process. As discussed, the record indicates that there remain considerable tasks

    (including expert discovery and motion practice) which must be completed before the matter is

    ready for trial. There are no present restraints preventing parties from moving forward in this

    regard, apart from proceeding to trial. To afford Emory Valadez an opportunity to quickly revisit

    this issue, the Court has carried the motion to May 3 and, if appropriate, to May 22 to hear where

    the parties stand with respect to pre-trial matters.




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    IV.    Conclusion

           For the reasons set forth above, the Court concludes that “unusual circumstances” are

    present warranting an extension of the automatic stay to the nondebtor Protected Parties under §

    362(a). To the extent § 362(a) does not serve as an independent basis for extension of the stay to

    nondebtor parties, the Court determines that a preliminary injunction under § 105(a) extending the

    stay is appropriate. In reaching today’s ruling, the Court employs its discretion and judgment to

    balance the interests of the tens of thousands of claimants who wish to go forward outside of the

    bankruptcy, the interests of the tens of thousands of claimants who wish to pursue settlement within

    this case, and the interests of the Debtor in pursuing a fair and equitable resolution of these claims

    through a bankruptcy reorganization. The parties are directed to settle a proposed form of Order

    consistent with this Opinion.




    Dated: April 27, 2023




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     UNITED STATES BANKRUPTCY COURT
     DISTRICT OF NEW JERSEY
     WOLLMUTH MAHER & DEUTSCH LLP                                       Order Filed on April 25, 2023
     Paul R. DeFilippo, Esq.                                            by Clerk
     500 Fifth Avenue                                                   U.S. Bankruptcy Court
     New York, New York 10110                                           District of New Jersey
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     (Admitted pro hac vice)
     PROPOSED ATTORNEYS FOR DEBTOR
     In re:                                              Chapter 11
     LTL MANAGEMENT LLC, 1                               Case No.: 23-12825 (MBK)
                             Debtor.                     Judge: Michael B. Kaplan

     LTL MANAGEMENT LLC,
                             Plaintiff,

     v.                                                  Adv. No.: 23-01092 (MBK)
     THOSE PARTIES LISTED ON APPENDIX A TO
     COMPLAINT and JOHN AND JANE DOES 1-1000,            Hearing Date and Time:
                                                         April 18, 2023 at 10:00 a.m.
                             Defendants.

              ORDER DISSOLVING TEMPORARY RESTRAINING ORDER, EXTENDING THE
              AUTOMATIC STAY, AND GRANTING LIMITED PRELIMINARY RESTRAINTS

              The relief set forth on the following pages is hereby ORDERED.



   DATED: April 25, 2023




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    Debtor: LTL Management LLC
    Adv. Pro. No. 23-01092 (MBK)
    Caption: Order Dissolving Temporary Restraining Order, Extending the Automatic Stay, and
    Granting Limited Preliminary Restraints

           This matter, having come before the Court upon the filing of an adversary complaint

    [dkt #1] (the “Complaint”) by the Debtor commencing the above-captioned adversary

    proceeding and a motion [dkt #2] (the “Motion”) 2 seeking among other relief, the entry of a

    temporary restraining order preventing the commencement or continuation of Debtor Talc

    Claims against the Protected Parties, including the continuation of all actions against the

    Protected Parties identified in the exhibits and amended exhibits to the Debtor’s adversary

    complaint; and this Court having entered an ex parte temporary restraining order, as amended

    [dkt #20] restraining all parties from pursuing all claims against the Protected Parties, pending

    the Court’s consideration of the entry of a preliminary injunction (the “TRO”), and opposition to

    the TRO and the imposition of preliminary restraints having been filed by an ad hoc committee

    of talc claimants, which opposition was subsequently adopted by the Official Committee of Talc

    Claimants (the “TCC”) formed by the Office of the United States Trustee (the “TCC

    Opposition”), and opposition to the entry of a preliminary injunction or extension of the

    automatic stay having been filed by the Office of the United States Trustee, representatives of an

    ad hoc committee of state attorneys general, and a number of representatives of plaintiffs

    restrained under the TRO and proposed to be restrained under the preliminary injunction and

    extension of the automatic stay, and a cross-motion for relief from the automatic stay having

    been filed by counsel for Anthony Hernandez Valadez; and the Court having conducted a full

    day trial on April 18, 2023, and having rendered its ruling and rendered a Bench Order on

    April 20, 2023, a transcript of such ruling being attached hereto as Exhibit A; for the reasons set



           2
                   Capitalized terms not otherwise defined herein have the meanings given to them in the Motion.




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    Adv. Pro. No. 23-01092 (MBK)
    Caption: Order Dissolving Temporary Restraining Order, Extending the Automatic Stay, and
    Granting Limited Preliminary Restraints

    forth in the Bench Order, which is incorporated herein by reference as if set forth verbatim, IT

    IS HEREBY ORDERED THAT:

                   1.      The Motion is GRANTED in part and DENIED in part as set forth herein.

                   2.      The TRO is hereby dissolved.

                   3.      The Defendants identified in Appendix A to the Complaint, as amended

    [dkt #1, 55] are hereby stayed pursuant to section 362 of the Bankruptcy Code and enjoined from

    the commencement or conducting of any trial or appeal of any Debtor Talc Claim against any of

    the Protected Parties identified in Appendix B to the Complaint, as amended [dkt #1, 55] (other

    than Janssen Pharmaceuticals, Inc. and Kenvue Inc.) (collectively, the “Modified Protected

    Parties”) through and including June 15, 2023, but nothing in this order (except as provided in

    Paragraph 4 below) shall be construed to enjoin or restrain any party from commencing or

    proceeding with discovery or other pretrial matters in those suits, or from filing suit against a

    Protected Party, subject to Paragraph 6 below.

                   4.      The parties to the multi-district litigation pending before the Honorable

    Michael Shipp (the “MDL Litigation”) concerning ovarian cancer cases shall take no legal action

    with regard to the MDL Litigation until May 22, 2023, on which date the Court shall consider

    whether any further restraints with regard to the MDL Litigation shall be issued.

    Notwithstanding the foregoing, parties in lawsuits pending in the MDL Litigation who wish to

    perpetuate the testimony of any person subject to this Order who is not expected to survive the

    duration of this Order or who otherwise is expected to be unable to provide testimony if it is not

    perpetuated during the duration of this Order shall be permitted to do so subject to the process




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    outlined in the In Extremis Deposition Protocol entered on January 23, 2017 in the MDL

    Litigation.

                   5.      With respect to all activities enjoined by this Order, this Order shall toll,

    as of April 4, 2023, the time period fixed under any applicable non-bankruptcy law, any order

    entered in a non-bankruptcy proceeding, or any agreement that fixes a period under which an

    enjoined Defendant is required to commence or continue a civil action in a court other than this

    Court on any Debtor Talc Claim asserted against the Debtor or any of the Modified Protected

    Parties until the later of: (i) the end of such period, including any suspension of such period

    occurring on or after the commencement of the case; or (ii) 30 days after notice of the

    termination or expiration of the stay or preliminary injunction issued by this Order. Any tolling

    of the period for any Defendant to file a complaint asserting a Debtor Talc Claim against a

    Modified Protected Party shall terminate upon the Debtor’s receipt of written notice of such

    Defendant’s intent to file such a complaint, as set forth in Paragraph 6 below.

                   6.      The filing of any complaint by any Defendant asserting any Debtor Talc

    Claim against any of the Modified Protected Parties shall be and hereby is stayed and enjoined

    until the Defendant, through counsel, notifies the Debtor in writing of his, her, or their interests

    and intent to proceed with the filing of a complaint. Once filed, such cases will be subject to the

    restrictions on trial set forth in Paragraph 3, but shall be free to commence or proceed with

    discovery or other pretrial matters as set forth in Paragraph 3.

                   7.      With regard to the case of Valadez v. Johnson & Johnson et al., the

    plaintiff therein is permitted to proceed with all litigation and all pretrial proceedings against any

    of the Modified Protected Parties, except commencement of trial. The Court intends to revisit



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    Caption: Order Dissolving Temporary Restraining Order, Extending the Automatic Stay, and
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    whether to continue any restraints against Mr. Valadez proceeding to trial at the Court’s

    scheduled omnibus hearings, currently scheduled for May 3, 2023 and May 22, 2023.

                   8.      Imerys Talc America, Inc. and its affiliates (collectively, the “Imerys

    Entities”) and Cyprus Mines Corporation and its affiliates (collectively, the “Cyprus Entities”)

    are not Defendants in this proceeding and the relief granted herein shall not apply to the Imerys

    Entities or the Cyprus Entities, and the findings of fact and conclusions of law set forth in this

    Order shall not bind the Imerys Entities or the Cyprus Entities, without prejudice to the Debtor’s

    right to seek (and other parties’ right to oppose) such relief in the future.

                   9.      Governmental units (as defined under section 101 of the Bankruptcy

    Code) are not Defendants in this proceeding and the relief granted herein, including any relief

    granted under this Order under section 105 of the Bankruptcy Code, shall not apply to restrict or

    enlarge the rights of the Debtor or any governmental unit under applicable bankruptcy law,

    without prejudice to any parties’ right to seek or oppose relief in the future.

                   10.     The Debtor’s request to amend the list of Protected Parties to include

    Kenvue Inc. and Janssen Pharmaceuticals, Inc. and to restrain the further litigation of the case of

    Bergeron v. Janssen and Kenvue [dkt # MID-L-002089], is hereby denied without prejudice.

                   11.     The deadline to file any answer or other response to the Complaint is

    tolled indefinitely subject to an order of this Court.

                   12.     Notwithstanding anything to the contrary in this Order, the limited

    preliminary restraints issued by the Order shall not include, and the automatic stay shall continue

    to be lifted to permit the Defendants to proceed with and complete, the following appeals, in




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    (Page 6)
    Debtor: LTL Management LLC
    Adv. Pro. No. 23-01092 (MBK)
    Caption: Order Dissolving Temporary Restraining Order, Extending the Automatic Stay, and
    Granting Limited Preliminary Restraints

    each of which surety bonds have been issued in connection with the appeal: (a) Olson; (b)

    Schmitz; (c) Barden (as to Barden, Etheridge, McNeill and Ronning); and (d) Prudencio.

                   13.     The Debtor shall cause a copy of this Order to be served via e-mail,

    facsimile, hand delivery or overnight carrier on the Modified Protected Parties and counsel for

    the known Defendants within three business days of its entry on the Court’s docket.

                   14.     This Court retains jurisdiction over this Order and any and all matters

    arising from or relating to the interpretation or enforcement of this Order.




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                             IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF NEW JERSEY

           IN RE:                        .                 Case No. 23-12825(MBK)
                                         .
           LTL MANAGEMENT LLC,           .
                                         .                 U.S. Courthouse
                     Debtor.             .                 402 East State Street
                                         .                 Trenton, NJ 08608
           . . . . . . . . . . . . . . . .
                                         .
           LTL MANAGEMENT LLC,           .                 Adv. No. 23-01092(MBK)
                                         .
                     Plaintiff,          .
                                         .
                v.                       .
                                         .
           THOSE PARTIES LISTED ON       .
           APPENDIX A TO COMPLAINT AND   .
           JOHN AND JANE DOES 1-1000,    .
                                         .
                     Defendants.         .                 Thursday, April 20, 2023
           . . . . . . . . . . . . . . . .                 12:02 p.m.

                                   TRANSCRIPT OF RULING ON
                 MEMORANDUM OF LAW IN SUPPORT OF MOTION BY MOVANT ANTHONY
               HERNANDEZ VALADEZ FOR AN ORDER (I) GRANTING RELIEF FROM THE
             AUTOMATIC STAY, SECOND AMENDED EX PARTY TEMPORARY RESTRAINING
           ORDER, AND ANTICIPATED PRELIMINARY INJUNCTION, AND (II) WAIVING
                  THE FOURTEEN-DAY STAY UNDER FEDERAL RULE OF BANKRUPTCY
              PROCEDURE 400l(a)(3) [DOCKET 7l]; AND DEBTOR'S MOTION FOR AN
            ORDER (I) DECLARING THAT THE AUTOMATIC STAY APPLIES OR EXTENDS
              TO CERTAIN ACTIONS AGAINST NON DEBTORS OR (II) PRELIMINARILY
                   ENJOINING SUCH ACTIONS AND (III) GRANTING A TEMPORARY
             RESTRAINING ORDER EX PARTE PENDING A HEARING ON A PRELIMINARY
                INJUNCTION [ADVERSARY DOCKET 2]; AND MOTION TO SEAL; AND
                                 SERVICE PROCEDURES MOTION
                           BEFORE THE HONORABLE MICHAEL B. KAPLAN
                            UNITED STATES BANKRUPTCY COURT JUDGE

           Audio Operator:                                 Kiya Martin

           Proceedings recorded by electronic sound recording, transcript
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           APPEARANCES:

           For the Debtor:                   Jones Day
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                                             Otterbourg PC
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                                                  JEFF SPONDER, ESQ.
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                                             844 King Street, Suite 2207
                                             Lockbox 35
                                             Wilmington, DE 19801




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                                                                                               3
           APPEARANCES CONT'D:

           For Various Talc                 Maune Raichle Hartley Frency &
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                                            By: CLAYTON L. THOMPSON, ESQ.
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           behalf of Estate of      8357 Main Street
           Cynthia Lorraine Crouch: Ellicott City, MD 21043

           For the Ad Hoc Committee Womble Bond Dickinson
           of Attorney Generals:    BY: ERICKA JOHNSON, ESQ.
                                    1313 North Market Street
                                    Suite 1200
                                    Wilmington, DE, US 19801


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       1                THE COURT:      Okay.     Good afternoon, everyone.

       2                This is Judge Kaplan.          Getting a little feedback.

       3                UNIDENTIFIED SPEAKER:          Good afternoon, Your Honor.

       4                THE COURT:      Good afternoon.

       5                I hope everybody's doing well.             Bear with me as I go

       6 through the usual mechanics of getting us up from an IT

       7 perspective.

       8                All right.      Thank you.      This afternoon I intend to

       9 address the pending motions with respect to the preliminary

      10 injunction based on the debtor's verified complaint, as well as

      11 the pending relief from automatic stay filed by Mr. Satterley

      12 on behalf of Emory Valadez.

      13                First, some preliminary matters, if I may.                 The Court

      14 is in receipt of submitted evidence and deposition designations

      15 proffered, by both the debtor and the committee, TCC.                      The

      16 Court is also in receipt of the objection filed by the TCC to

      17 certain designations of testimony with respect to Mr. Haas,

      18 Mr. Murdica, and Mr. Birchfield.

      19                At this point in time, the Court is accepting into

      20 evidence all of the evidence and designations submitted by both

      21 the debtor and the Committee.              The Court is overruling the

      22 objections raised by the Committee with respect to those

      23 identified depositions and testimony.                 But the Court is going

      24 to note that the Court in reaching its ruling this afternoon

      25 has accorded zero weight to the depositions and the evidence




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       1 reflected in the testimony.

       2                The Court is also in receipt of supplemental

       3 submissions from you all.             Thank you.      We have the debtor's

       4 supplemental submission dated April 19th.                  We have the

       5 Committee's objection to it.              We have supplemental submissions

       6 on behalf of the Bergeron's, on behalf of Maune Raichle's

       7 clients, Katherine Tolleson, on behalf of Paul Crouch.                       We have

       8 also, the Court is in receipt of an initial statement on behalf

       9 of an ad hoc committee supporting talc claimants.

      10                Oh, let me go back.         With respect to the evidence, I

      11 have also received the U.S. Trustee's objection with respect to

      12 the use of confidentiality designations.                  And the Court agrees

      13 that the evidence has been accepted for purposes of the PI

      14 motion only and not for any other purpose in this case.                       I

      15 think that covers all these supplemental submissions.                      And the

      16 Court has had the opportunity to review these this morning.

      17                I'm prepared to read my ruling into the record.                    I

      18 hope you all will bear with me in the time it takes.

      19                I sat through yours.

      20                All right.      One of the advantages of conducting the

      21 hearing in a hybrid fashion, both live and remote this past

      22 Tuesday, was that my wife could log in and see that I was

      23 actually working and in Court for over nine hours.                     And when I

      24 got home, she asked me why I didn't cut off the arguments and

      25 the endless PowerPoint presentations sooner.                   I told her that I




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       1 was looking for answers, that it was repeated often that the

       2 world is watching and I wanted every opportunity to understand

       3 the facts and get answers to my concerns.                  I believe that the

       4 Court and the world is entitled to such answers.

       5                Well, frankly, after Tuesday, I have more questions

       6 than answers.         The fundamental question addressed by the

       7 parties is whether the debtor has a realistic possibility of

       8 success.       It is the linchpin of the four-prong injunction test

       9 employed universally.           In Chapter 11, the inquiry is more

      10 focused on whether the debtor has a reasonable possibility of

      11 reorganizing, which needless to say, at a minimum, requires

      12 that the debtor survive any motions to dismiss for cause,

      13 including lack of good faith.

      14                Our Third Circuit now has made clear that it views

      15 the gateway to good faith being a determination that a debtor

      16 is in financial distress.             Mr. Maimon, among others, argued

      17 that this determination should be straightforward.                     Did

      18 anything occur in the two hours and 11 minutes between filings

      19 and after the Third Circuit's ruling, which changed the

      20 debtor's financial situation and created distress.

      21                I'm not sure that this is the correct question.

      22 Rather, I think it must be whether anything changed in the

      23 debtor's financial picture.              Since October of '21, the date of

      24 the first filing and the period fixed for purposes of the five-

      25 day trial undertaken in February of 2022, and April 4, 2023,




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       1 the date of the second filing.

       2                Well, certain things have changed.              Claims against

       3 the debtor have soared from approximately 41,000 to in all

       4 likelihood well over a 100,000.               Are these new claims

       5 supportable?        Tuesday provided more speculation than answers.

       6 Does the increased volume of claims add to or create financial

       7 distress for this debtor?             Maybe.     Maybe not.

       8                Since the first filing, the acknowledged floor for

       9 the debtor's talc liability has increased from 2 billion to 8.9

      10 billion with questions remaining as to whether this sum would

      11 cover the billions claim due for third-party providers, state

      12 regulators, Canadian class claimants, indemnified parties, and

      13 others.

      14                Does this increase floor of debt add to or create

      15 financial distress for this debtor?                Again, maybe.       Maybe not.

      16 Since the first filing, the debtor's funding resources have

      17 been reduced from 61 billion to possibly 30 billion plus.                        The

      18 reduction certainly appears manufactured by the debtor, HoldCo,

      19 and J&J in response to the Third Circuit's ruling.                     Does this

      20 reduction in funding add to or create financial distress for

      21 this debtor?        Maybe.     Maybe not.

      22                Does the manner in which the transactions were

      23 undertaken give rise to an independent bases for finding bad

      24 faith?      Possibly.      Do the transactions give rise to fraudulent

      25 transfer liability for the benefit of the debtor's creditors?




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       1 Well, constructive fraud generally, under the Bankruptcy Code

       2 and state law, requires a determination of insolvency.                       Can the

       3 Court conclude after Tuesday's hearings that the debtor's

       4 liabilities exceed its assets?               I don't think so since the

       5 extent of the liabilities has not been anywhere close to being

       6 fixed.

       7                The Third Circuit specifically cautioned and

       8 admonished against casual calculations and back of the envelope

       9 forecasts.        Given the limited record here, this Court cannot

      10 make an informed determination or comparison of the assets and

      11 liabilities of this debtor in this bankruptcy, which according

      12 to the Third Circuit, is where the inquiry should be focused.

      13                As to actual fraud, can the Court conclude that

      14 there's been an actual intent to hinder, delay, and defraud

      15 creditors?        Maybe.    But proof of subjective intent may be

      16 difficult to determine without knowing the extent of the

      17 liabilities and whether it's reasonable for the debtor to

      18 believe that its remaining assets are sufficient to cover such

      19 liabilities.

      20                And for the Court, there was a very concerning

      21 question regarding this loss of value in the funding agreements

      22 and its potential impact on the interest of present and future

      23 creditors.        What happens if this case is dismissed?                I know the

      24 lawyers that represent these claimants will fight zealously and

      25 tirelessly for their individual clients, as they should.                       But




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       1 who pursues the claims for the possible loss in funding value?

       2 Who will fight for the other a 100,000 or so creditors or

       3 claimants to pursue recovery that may be available because of

       4 these transactions?           Outside of bankruptcy, who will fight to

       5 protect the interest of future claimants?

       6                Now, it may be that this Court determines that the

       7 last series of questions, or in fact any of the other

       8 questions, are not relevant.              Once the Court hears from the

       9 movants with regard to the anticipated motion to dismiss,

      10 undoubtedly the debtor has an uphill battle.                   There are

      11 unresolved issues such as the voidability of the 2021 funding

      12 agreement, the potentially largest fraudulent transfer

      13 undertaken in history, as the phrase has been proffered; the

      14 need to acquire 75 percent approval for the plan.                     But at this

      15 point, with so many unanswered questions, the Court cannot

      16 reach a determination that there is no possibility of a

      17 successful reorganization premised upon the objections of

      18 certain claimants, vehement as they may be.

      19                The Court cannot at this juncture sua sponte dismiss

      20 this case or rely on bad faith as a basis to deny the

      21 preliminary injunction.            That being said, the Court is

      22 skeptical and will require a well-supported and timely showing

      23 by the debtor that this reorganization has a meaningful chance.

      24                For purposes of today, the Court refers and

      25 incorporates into this ruling its analyses and discussions




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        1 found in its prior published opinions at 638 B.R. 291, 640 B.R.

        2 at 322, and 645 B.R. 59.            Specifically, these prior opinions

        3 explicate the Court's authority to hear, decide, and enter a

        4 final order and judgment in the adversary proceeding, which

        5 would have the effect of extending the automatic stay and

        6 enjoining litigation against non-debtor third parties relative

        7 to the debtor talc claims as defined in the verified complaint.

        8               In sum, the Court concludes that Section 362(a) and

        9 Section 105(a), and/or the Court's inherent powers can each

      10 serve as an independent basis to extend the stay to non-debtor

      11 third parties.         In so concluding, the Court continues to follow

      12 the Philadelphia newspapers approach set forth at 423 B.R. 102,

      13 which considers whether there is jurisdiction to enter the

      14 injunction, whether the extension of the automatic stay to non-

      15 debtors is appropriate, and whether the Court should in its

      16 discretion, issue the injunction.

      17                As in the last case, the debtor has asked for a

      18 preliminary injunction and/or an extension of the stay to

      19 certain non-debtor parties.             The UST, the TCC, and

      20 representatives of certain claimants, among others, oppose this

      21 request.       At the core of all these objections is the argument

      22 that the debtor cannot confirm a plan, that there is no

      23 likelihood of success because the objecting claimants will not

      24 agree to a plan proposed by the debtor.                 Yet the debtor comes

      25 before this Court with an alleged 55,000 or more claimants in




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        1 support of a proposed settlement.

        2               This Court cannot discount those claimant's rights

        3 and preferences in favor of others.               Notwithstanding, claimants

        4 who have had over the past 18 months their claims and

        5 litigation stalled during the pendency of the prior bankruptcy,

        6 should not lose more valuable time.               Therefore, I have

        7 determined that the TRO currently in place should be dissolved

        8 and replaced with a far more limited preliminary injunction.

        9               Needless to say, the automatic stay remains in effect

      10 as to the debtor.          The more limited preliminary injunction to

      11 be entered will prohibit the commencement or continuation of

      12 any trial against any of the protected parties identified in

      13 Appendix B to the verified complaint, as amended, through and

      14 including June 15, 2023, a period of approximately 60 days.

      15 This is aimed at preventing the liquidation of claims for which

      16 this debtor may have liability with the liquidation occurring

      17 outside of this bankruptcy.

      18                But to be clear, I am neither enjoining nor

      19 restraining the filing of new complaints against the protected

      20 parties, nor am I enjoining or restraining any ongoing

      21 discovery or other pretrial matters.                Given the very limited

      22 scope of these restraints, the Court did not, and frankly could

      23 not, on the factual record examine the basis of relief for each

      24 of the specific protected parties.

      25                The restraints included in the current amended TRO




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        1 will remain in effect as to the MDL that's currently pending

        2 before Judge Michael Shipp.            I have spoken with Judge Shipp and

        3 we both agree that the continuing restraints as to the MDL

        4 should and will be revisited along with the continuing

        5 appropriateness of the preliminary injunction itself at the

        6 Court's omnibus hearing scheduled for May 22, 2023.

        7               With respect to Section 108(c) tolling provisions

        8 relative to the statute of limitations for unfiled claims, the

        9 Court's preliminary injunction order will include language that

      10 the automatic stay under Section 362(a) remains in effect for

      11 unfiled claims unless the claimant, through counsel, notifies

      12 the debtor in writing of his, her, or their interests and

      13 intent to proceed with the filing of a complaint.

      14                The purpose of this language is to ensure that such

      15 claimants who wish to defer filing a complaint and paying the

      16 necessary filing fees while the bankruptcy case unfolds are not

      17 placed in the position of having to file and incur that

      18 expense.       The Court welcomes any and all suggestions as to

      19 workable language that addresses this issue.

      20                Finally, the Court recognizes the debtor's concern

      21 that a full throttled resumption of litigation may place

      22 immediate burdens on staff and potential witnesses, such as a

      23 proffered 30(b)(6) witness and sees no reason why transcripts

      24 of such initial depositions can't be provided in lieu of

      25 multiple repeat and duplicative depositions across the country.




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        1 If a problem arises in this regard, the Court will address this

        2 and any specific problems at a future date.

        3               In reaching today's ruling, that Court employs its

        4 discretion and judgment to balance the interest of the tens of

        5 thousands of claimants who wish to go forward outside of

        6 bankruptcy, the interest of the tens of thousands of claimants

        7 who wish to pursue settlement within this case, and the

        8 interest of the debtor in pursuing a fair and equitable

        9 resolution of these claims through a bankruptcy reorganization.

      10                I wish to make one thing clear.             Contrary to some

      11 suggestions, the Court is not endeavoring to make policy.                       That

      12 has never been the Court's aim.               Rather, the Court is engaged

      13 in trying to do its best to advance the interest of creditors

      14 as a whole, a task I and my bankruptcy judge colleagues

      15 undertake daily.

      16                With respect to the Valadez matter, I am troubled

      17 with the same issue I’ve had to tackle in the prior case,

      18 whether it is ever appropriate to start picking and choosing

      19 which claimant among thousands should be permitted to go

      20 forward and liquidate claims while others abide by the process.

      21 From everything I have heard and read there remains

      22 considerable tasks, including expert discovery and motion

      23 practice, which must be completed before the matter is ready

      24 for trial.

      25                Mr. Satterley, I see you’re on.             There are no present




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        1 restraints preventing you from moving forward in this regard

        2 apart from proceeding to trial.              I will provide your client the

        3 opportunity to quickly revisit this issue by carrying your

        4 motion to May 3rd, and if appropriate, that’s the next

        5 scheduled omnibus hearing, and if appropriate to the May 22nd

        6 hearing, to hear where you stand with respect to pretrial

        7 matters.

        8               Alternatively, you may submit a form of order

        9 granting in part and denying in part your requested relief so

      10 that you may pursue an immediate appeal.                  You can advise

      11 chambers after this hearing as to your preference.

      12                Finally, as noted, on Tuesday as part of the text

      13 order in the first case, which terminated mediation due to the

      14 anticipated dismissal of the case, I urge the parties to

      15 continue settlement discussions.               I have not altered my view

      16 that mediation is important.              Indeed, considering the debtors’

      17 intent to file a plan in short order I believe mediation is

      18 critical and should begin as soon as possible.

      19                The parties must have confidence in the mediator, and

      20 the mediator must have plenary authority to conduct any

      21 mediation as he, she, or they deem appropriate.                    I know the

      22 debtor has filed a motion to reappoint Mr. Russo and Judge

      23 Schneider.        Notwithstanding, I am directing the Committee and

      24 the debtor to provide me in confidence with three names of

      25 proposed mediators by the close of business this coming




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        1 Wednesday.       I am away out of state until then.              My inclination

        2 is to appoint a single mediator to start who will be subject to

        3 the same mediation protocol employed in the prior case.                      Thank

        4 you.

        5               I will ask the debtor to settle a form of order with

        6 the Committee and others, reflecting my ruling today, of course

        7 by reference.        And fearfully I will ask are there any

        8 questions?

        9               MR. SATTERLEY:        Yes, Your Honor.

      10                THE COURT:      Well --

      11                MR. SATTERLEY:        I’m sorry.

      12                THE COURT:      We’ll start -- Mr. Satterley?

      13                MR. SATTERLEY:        Yes.   So, obviously I got -- I’m

      14 going to read Your Honor’s -- the transcript whenever we get it

      15 today, and I need to consult with appellate counsel, but I just

      16 got a little confused as you read along.

      17                With regards to the granting of the -- or the

      18 decision to appeal, will Your Honor allow me and certify the

      19 issue to the Third Circuit?             I need to know that so I can talk

      20 to appellate counsel also as I advised Your Honor on the 11th.

      21 I advised Your Honor that it was my intention to take a writ --

      22 emergency writ because of the pending death of my client, so I

      23 just wanted to find out from Your Honor will you give me

      24 permission, if my appellate counsel tells me it’s appropriate,

      25 to go to the Third Circuit directly?




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        1               THE COURT:      The best I can do is give you the

        2 authorization to make the request to me formally.                    I have to --

        3               MR. SATTERLEY:        Yes, Your Honor.

        4               THE COURT:      -- allow other parties to weigh in on it.

        5               MR. JONAS:      Your Honor, may we have the same

        6 response?       Because we would intend to do so, as well.

        7               THE COURT:      The same response would be appropriate.

        8               MR. JONAS:      Thank you, Your Honor.

        9               MS. BROWN:      Your Honor, this is Allie Brown.             Could I

      10 ask, I understand the Court’s ruling.                 Given the significance

      11 of the discovery that will no doubt be coming our way very

      12 soon, could we ask that the order not go into effect until

      13 Monday at nine a.m. so that we can alert counsel throughout the

      14 country who handle these matters on a local basis and have no

      15 visibility into what’s been going on here, so they are prepared

      16 to deal with letters to the Court, and calls to the Court in

      17 the individual cases they are monitoring?                  I fear if we don’t

      18 do that it could be somewhat chaotic, as discovery requests

      19 start immediately.

      20                THE COURT:      Well, as a practical --

      21                MR. SATTERLEY:        May I respond to that, Your Honor?

      22                THE COURT:      Let me -- I’ll let you respond.             Let me

      23 -- as a practical matter I don’t have an order.                    I asked the

      24 parties to settle an order.             And I leave on Saturday morning,

      25 and I’ll be out of the state.              So --




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        1               MS. BROWN:      Understood.

        2               THE COURT:      I don’t know how to respond to you.

        3 Certainly --

        4               MS. BROWN:      I think I understand, Your Honor.              So, it

        5 will be dependent on us proposing something to the Court --

        6               THE COURT:      Right.

        7               MS. BROWN:      -- and there is at least a few days time

        8 on that so we can get the logistics in order.

        9               THE COURT:      Right.     With Mr. Satterley --

      10                MS. BROWN:      Understood.

      11                THE COURT:      Yes.    Thank you.

      12                MR. SATTERLEY:        So, this -- counsel has been aware of

      13 Your Honor’s tentative since last Thursday, and Your Honor, you

      14 know, while it’s more formalistic and you put it all in more

      15 detail, they have been aware, and just as Your Honor directed

      16 me to do, I went to Judge Seabolt and asked him to do exactly

      17 what Your Honor said, move the hearing until today.                     And

      18 counsel for J&J and all the retailers were present, and they

      19 said I correctly stated what Your Honor said.                   There is

      20 absolutely no reason to further delay, because trial courts,

      21 state courts have a docket also, and they need to manage their

      22 docket.

      23                So I would request, Your Honor, to allow us to advise

      24 the state courts, advise the trial judges the procedure.

      25 Obviously various state laws control with regards to how much




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        1 time they have to respond to discovery.                No state that I’m

        2 aware of requires the debtor -- I mean, the non-debtor, the

        3 non-debtor to respond immediately to discovery.                   Usually it’s

        4 20 days, or 30 days, or 45 days.

        5               So even if we were to tender discovery today, it’s

        6 not going to be tomorrow that they’re going to respond to it.

        7 So I object to Mrs. Brown’s request to once again further delay

        8 the resumption of our client’s rights to go -- and because, for

        9 example, Your Honor, one of the cases I filed an objection to

      10 was Mr. Eagles (phonetic).             His trial, Mr. Eagles’ trial was

      11 already set for April the 2nd.              Because of the TRO we moved it

      12 to May the 1st.          And now I was going to tell Judge Seabolt to

      13 move it to June the 15th.             And what Ms. Brown is in essence

      14 asking for is in Mr. Eagles’ case, who is dying of

      15 mesothelioma, that we would not be able to start preparing that

      16 case further for trial.            So I would object to Mrs. Brown’s

      17 request, and allow us to begin the preparation so that these

      18 individuals are not further harmed.

      19                THE COURT:      I think I can --

      20                MS. BROWN:      Your Honor --

      21                THE COURT:      Well, Ms. Brown, I think I can address

      22 this -- and I see other hands raised.                 I do not have an

      23 objection -- I know you all will secure a copy of this

      24 transcript quickly.           I have no objection to you providing it to

      25 non-bankruptcy courts with the note that a formal order has not




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        1 been entered.        It will speak for itself.

        2               MS. BROWN:      And, Your Honor, until the formal order

        3 is entered we will have at least a few days to organize the

        4 local counsel and be prepared to respond?

        5               THE COURT:      I can’t see any court acting to prejudice

        6 those interests in the days it will take.                 Work hard, get me an

        7 order.      I will enter it even if I am not in the state.                 But --

        8               MS. BROWN:      Understood, Your Honor.

        9               THE COURT:      All right.      Mr. Placitella?

      10                MR. PLACITELLA:        Good morning, Your Honor.           Thank you

      11 very much.        In your decision you referenced Appendix B to the

      12 Notice of Filing.          There was an amended Appendix B that listed

      13 Janssen and Kenvue that we received with no notice and no

      14 evidence offered during the hearing, and I want to understand

      15 the scope of your decision if it includes Janssen and Kenvue

      16 for which no evidence was submitted during the hearing, and for

      17 which Mr. Kim said he had no knowledge whatsoever.

      18                THE COURT:      Well, I anticipated your question, and

      19 candidly, I can’t see how your clients would be prejudiced with

      20 no trial to occur.           That’s the only limitation until June in a

      21 case that where issue hasn’t even been joined yet.                     So, but if

      22 you want to explain --

      23                MR. PLACITELLA:        But the issue, Your Honor --

      24                THE COURT:      If you want to address it --

      25                MR. PLACITELLA:        Respectfully, Your Honor, yes,




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        1 because the issue is whether the standard has been met for a

        2 temporary restraining order.             And with no evidence, and in

        3 fact, they submitted a brief to you saying whatever happened

        4 after Holdco is irrelevant, with no evidence, even with Your

        5 Honor’s best intent there is no basis even for a short

        6 restraint to stop the case against Kenvue or Janssen.                     The

        7 operation of -- I’m assuming what’s going to happen is they are

        8 going to file a motion to dismiss, and the trial court will

        9 make a determination.

      10                But, you know, having them give notice, you know,

      11 after five a day before the hearing, put on no evidence and say

      12 oh, well, protect them too when Mr. Kim doesn’t even know why

      13 it was included, respectfully, I don’t think it should be

      14 included.

      15                THE COURT:      All right.      Fair enough.       At this

      16 juncture I am going to excise out those two defendants from the

      17 Exhibit A.        I will preserve the debtor’s rights to come back

      18 before me to include them at a later date if it becomes

      19 relevant.

      20                MR. PLACITELLA:        Thank you, Your Honor.

      21                THE COURT:      Thank you.

      22                MR. JONAS:      Your Honor?

      23                THE COURT:      Yes?

      24                MR. JONAS:      Your Honor, it’s Jeff Jonas from Brown,

      25 Rudnick, and with me is Melanie Cyganowski from Otterbourg on




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        1 behalf of the Committee, TCC.             Your Honor, I would ask that you

        2 sua sponte grant the Committee derivative standing to

        3 investigate and bring state court causes of action and claims.

        4 I think -- I hope, Your Honor, that our hearing, trial earlier

        5 this week, if nothing else, demonstrated, and I think you have

        6 sufficient evidence as to the futility of expecting this debtor

        7 to investigate, never mind bring, those claims and causes of

        8 action.      So we would ask you to do that now, Your Honor.

        9               THE COURT:      All right.      Does the debtor wish to be

      10 heard?       Mr. Gordon?

      11                MR. GORDON:       Greg Gordon, Your Honor, Jones Day, on

      12 behalf of the debtor.            I don’t think it’s appropriate to make

      13 that request orally for a sua sponte ruling.                   There are

      14 standards that have to be met, including advising the Court and

      15 the parties what claims we’re talking about, and there’s got to

      16 be a showing that they are colorable claims.                   And so from our

      17 perspective we think, as you handled the other matter, a motion

      18 should be filed and we should be given the right to respond to

      19 it.

      20                THE COURT:      All right.      I knew there would be a

      21 danger in conducting this not in a webinar format where counsel

      22 had the ability to ask questions.               I’m not prepared or inclined

      23 to grant sua sponte relief at this -- or any further relief

      24 today.       The purpose for today’s hearing was to try to read a

      25 ruling and direct the parties to come to a form of order.




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        1               MR. GORDON:       And, Your Honor, I wanted to spend one

        2 minute on Mr. Placitella, if I could.                I obviously heard Your

        3 Honor’s ruling.         I just wanted to indicate that he did say in

        4 court, as I recall, that the basis for the claims is successor

        5 in interest, which would be property of the estate, and

        6 therefore those claims would be barred by the automatic stay.

        7 But we heard Your Honor.            We’ll handle that appropriately.

        8 We’ll file a motion as necessary to get the relief that we

        9 think would confirm that those claims are barred by the

      10 automatic stay.

      11                THE COURT:      In fairness to Mr. Placitella, I was

      12 moving everybody along quickly --

      13                MR. GORDON:       Understood.

      14                THE COURT:      -- on Tuesday, and we didn’t vet these

      15 arguments.

      16                MR. GORDON:       Sure.

      17                THE COURT:      And given the stage where it’s at there’s

      18 ample time to address it further.

      19                MR. GORDON:       Understood, Your Honor.

      20                THE COURT:      Ms. Cyganowski, I can’t tell, is there

      21 still a hand up?

      22                MS. CYGANOWSKI:        Yes, there is, Your Honor.           Melanie

      23 Cyganowski for the Committee.              I’m not asking for the relief

      24 today, but just to advise the Court that we will be opposing

      25 the debtor’s request for expedited relief with respect to the




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        1 hearing on the disclosure and plan.

        2               THE COURT:      The Court has received the debtor’s

        3 motion on shortened time, but I believe the Court did receive

        4 something from your firm, or one of the firms representing the

        5 TCC in opposition.          In all candor, it sits on the corner of my

        6 desk, and I have not looked at it, nor will I through today and

        7 probably through tomorrow.            So if other firms want to weigh in,

        8 one side or the other, they may do so.

        9               MS. CYGANOWSKI:        Thank you.

      10                MR. SATTERLEY:        Your Honor, I have one last question.

      11 Can we -- I know Your Honor said you were going to be away.                        Is

      12 it -- can we have a deadline for the order?                   The only thing I’m

      13 afraid of, we can obviously meet and confer today.                     Can we

      14 submit by tomorrow competing orders to the extent we can’t

      15 agree on the exact language?              Because I have -- not necessarily

      16 with this debtor, but I have had situations where defendants in

      17 litigation don’t agree, and it just protracts the submission of

      18 the order of the Court.            So I was going to suggest is it

      19 possible we’ll meet and confer this afternoon.                    If we can’t

      20 agree to an order by 12 noon tomorrow we can submit competing

      21 orders, and Your Honor decide what’s appropriate?

      22                THE COURT:      My thought is that if you -- let’s see.

      23 I’m trying to make it as expeditious, but I am not sure where I

      24 am going to be during the early part of next week.                     So, how

      25 about this?        Do your best to meet and confer, come up with the




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        1 terms.      It shouldn’t be a difficult order.             I have laid it out

        2 subject to anybody’s rights to take an appeal, of course, but

        3 most of it should just be by reference.

        4               And so, you should be able to come up with the terms

        5 of the order.        You can take action as appropriate.

        6               So, if by the close of business on Monday you haven’t

        7 all agreed on a form of order, reach out for chambers.                     We’ll

        8 see if we can have a conference call.

        9               MS. BROWN:      Thank you, Your Honor.

      10                MR. STOLZ:      Your Honor, maybe an easier way to -- to

      11 handle it is to have this -- Your Honor’s ruling constitute a

      12 bench order to be followed up by a written order so it’s

      13 effective immediately?

      14                MS. BROWN:      Judge, we’d like the opportunity to

      15 follow your instructions, and we can certainly do so by Monday,

      16 and we’ll reach out if there is an issue.

      17                THE COURT:      I think --

      18                MR. SATTERLEY:        The only problem with that, Your

      19 Honor --

      20                THE COURT:      Go ahead.

      21                MR. SATTERLEY:        -- my clients die.        Every day is

      22 important to my client.            And if I have to make a decision about

      23 an emergency appeal, as I told Your Honor on the 11th, every

      24 single day that goes by my client is -- is closer to being in

      25 the ground, dead, and so I would request -- Your Honor made it




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        1 real clear what your order is today.               There’s no reason why we

        2 cannot agree to something this afternoon or tomorrow morning

        3 and submit something to Your Honor.               What -- so, I would -- Mr.

        4 Stolz makes a great point, and I would request that Your Honor

        5 incorporate Mr. Stolz’s request.

        6               MS. BROWN:      Your Honor, there are wide implications

        7 of your order, and we are prepared to follow the Court’s

        8 instruction to immediately meet and confer and get the Court by

        9 Monday a proposed order.

      10                MR. MAIMON:       Your Honor?

      11                THE COURT:      Yes, Mr. Maimon?

      12                MR. MAIMON:       Thank you, Your Honor.         We object to the

      13 debtor stringing this out.             This is -- Your Honor noted that

      14 the delay for claimants should not continue any more as to the

      15 non-debtors, and it should not be that on Monday, first thing,

      16 with Your Honor out of the state, and we don’t know what the

      17 Court’s availability is, that we then have to first start

      18 scheduling conferences.            The Court was very clear with its

      19 decision today.          Mr. Stolz is correct.         It’s standard practice

      20 for courts to issue a bench order that the transcript is the

      21 order of the Court to be followed up with a more formal written

      22 order that can form the basis of any appeals or anything like

      23 that.      But we should be able to proceed in accordance with the

      24 Court’s ruling immediately.

      25                THE COURT:      All right.      Well, in effect I thought I




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    Case
     Case23-01092-MBK
           23-12825-MBK Doc    Doc91387-1
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Exhibit Public Petition for Writ of Mandamus
                                     Documentof Official
                                                   Page Committee
                                                          33 of 34 of Talc Claim Page 116 of 118

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        1 was providing Mr. Satterley and others with the authorization

        2 to take this transcript.            A bench order requires the transcript

        3 in the first place.          So, I anticipate that you’re going to be

        4 using the transcript.           If you want the magic language that this

        5 is it’s so ordered from the bench subject to the terms of a

        6 more formal order to be entered at a later date, you have it.

        7               MR. SATTERLEY:        Thank you, Your Honor.

        8               UNIDENTIFIED ATTORNEY:          Thank you, Your Honor.

        9               THE COURT:      All right.      And then I think I wish all

      10 of you a good weekend.

      11                UNIDENTIFIED ATTORNEY:          Enjoy your vacation, Your

      12 Honor.

      13                THE COURT:      Thank you.

      14                UNIDENTIFIED ATTORNEY:          Don’t tell anyone where you

      15 are.

      16                THE COURT:      I should be so lucky.          Thank you.

      17                UNIDENTIFIED ATTORNEY:          Thank you.

      18                                       * * * * *

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    Case
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Exhibit Public Petition for Writ of Mandamus
                                     Documentof Official
                                                   Page Committee
                                                          34 of 34 of Talc Claim Page 117 of 118

                                                                                            27
        1                           C E R T I F I C A T I O N

        2               We, KAREN K. WATSON and TAMMY DERISI, court approved

        3 transcribers, certify that the foregoing is a correct

        4 transcript from the official electronic sound recording of the

        5 proceedings in the above-entitled matter and to the best of our

        6 ability.

        7

        8 /s/ Karen K. Watson

        9 KAREN K. WATSON

      10

      11 /s/ Tammy DeRisi

      12 TAMMY DERISI

      13 J&J Court TRANSCRIBERS, INC.                    DATE:     April 20, 2023

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     Case
      Case23-12825-MBK
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                                          of Order
                                                of Official
                                                   Entry Committee
                                                            Page 1 of 1of Talc Claim Page 118 of 118
Form order − ntcorder

                                   UNITED STATES BANKRUPTCY COURT


District of New Jersey
402 East State Street
Trenton, NJ 08608

In Re: LTL Management LLC
Debtor
                                                           Case No.: 23−12825−MBK
                                                           Chapter 11
LTL Management LLC
Plaintiff

v.

Those Parties Listed on Appendix A to the Complaint and
John and Jane Does 1−1000
Defendant

Adv. Proc. No. 23−01092−MBK                                Judge: Michael B. Kaplan




                                     NOTICE OF JUDGMENT OR ORDER
                                       Pursuant to Fed. R. Bankr. P. 9022

      Please be advised that on April 25, 2023, the court entered the following judgment or order on the court's
docket in the above−captioned case:

Document Number: 91 − 2
ORDER DISSOLVING TEMPORARY RESTRAINING ORDER, EXTENDING THE AUTOMATIC STAY, AND
GRANTING LIMITED PRELIMINARY RESTRAINTS (related document:2 Motion re: Debtor's Motion for an
Order (I) Declaring That the Automatic Stay Applies or Extends to Certain Actions Against Non−Debtors, (II)
Preliminarily Enjoining Such Actions, and (III) Granting a Temporary Restraining Order Ex Parte Pending a Hearing
on a Preliminary Injunction Filed by LTL Management LLC. filed by Plaintiff LTL Management LLC). Service of
notice of the entry of this order pursuant to Rule 9022 was made on the appropriate parties. Signed on 4/25/2023.
(wiq)

     Parties may review the order by accessing it through PACER or the court's electronic case filing system
(CM/ECF). Public terminals for viewing are also available at the courthouse in each vicinage.




Dated: April 25, 2023
JAN: wiq

                                                           Jeanne Naughton
                                                           Clerk




                                                        A66
